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United States Bankruptcy Court

Central District of California

Inre Jong Uk Byun | / _ Case No. _2:23-bk-12747-VZ
Debtor(s) Chapter 11

LIST OF EQUITY SECURITY HOLDERS

Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of | Security Class Number of Securities Kind of Interest
business of holder

-NONE-

DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

I, the of the named as the debtor in this case, declare under penalty of perjury that I have read the foregoing List
of Equity Security Holders and that it is true and correct to the best of my information and belief.

Date May 18, 2023 Signature Is/ Jong Uk Byun i
Jong Uk Byun

Penalty for making a false statement of concealing property: Finc of up to $500,000 or imprisonment for up to 5 years or both.
18 U.S.C, §§ 152 and 3571.

Sheet 1 of 1 in List of Equity Security Holders
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STATEMENT OF RELATED CASES
INFORMATION REQUIRED BY LBR 1015-2
UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA

1. A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or
against the debtor, his/her spouse, his or her current or former domestic partner, an affiliate of the debtor, any
copartnership or joint venture of which debtor is or formerly was a general or limited partner, or member, or any
corporation of which the debtor is a director, officer, or person in control, as follows: (Set forth the complete number
and title of each such of prior proceeding, date filed, nature thereof, the Bankruptcy Judge and court to whom
assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list any real property

included in Schedule A/B that was filed with any such prior proceeding(s).)
Chapter 11 filed by Debtor, John Uk Byun; Case No. 2:20-bk-17433-VK: Date Filed: 08/14/2020: Dismissed on 04/25/2022:
Closed on 05/23/2022.

Chapter 11 filed by Debtor, John Uk Byun; Case No. 2:18-bk-19004-VK: Date Filed: 08/03/2018: Dismissed on 10/01/2019:
Closed on 02/04/2020.

Chapter 11 filed by Debtors, John Uk Byun and Bok Soon Byun; Case No. 2:10-bk-11241-VK: Date Filed: 01/12/2010:
Discharged on 06/24/2011: Closed on 01/25/2013.

2. (If petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform
Act of 1978 has previously been filed by or against the debtor or an affiliate of the debtor, or a general partner in the
debtor, a relative of the general partner, general partner of, or person in control of the debtor, partnership in which the
debtor is a general partner, general partner of the debtor, or person in control of the debtor as follows: (Set forth the
complete number and title of each such prior proceeding, date filed, nature of the proceeding, the Bankruptcy Judge
and court to whom assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list
any real property included in Schedule A/B that was filed with any such prior proceeding(s).)

None

3. (If petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
previously been filed by or against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer
of the debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner
of the debtor, a relative of the general partner, director, officer, or person in control of the debtor, or any persons, firms
or corporations owning 20% or more of its voting stock as follows: (Set forth the complete number and title of each
such prior proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether
still pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule
A/B that was filed with any such prior proceeding(s).)

None

4. (If petitioner is an individual) A petition under the Bankruptcy Reform Act of 1978, including amendments thereof, has
been filed by or against the debtor within the last 180 days: (Set forth the complete number and title of each such prior
proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still
pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A/B
that was filed with any such prior proceeding(s).)

None

| declare, under penalty of perjury, that the foregoing is true and correct.

Executed at Claremont , California. is} Jong Uk Byun
Jong Uk Byun

Date: May 18, 2023 Signature of

Signature of Debtor 2

This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

October 2018 Page 1 F 1015-2.1.STMT.RELATED.CASES
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UMM eM eel Ce laM Come (Velitama ele Lak ets y=h

Debtor 1 Jong Uk Byun

First Name Middle Name Last Name
Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: © CENTRAL DISTRICT OF CALIFORNIA

Case number 2:23-bk-12747-VZ
(if known) O Check if this is an

amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

[2h Summarize Your Assets

Your assets
Value of what you own

1. Schedule A/B: Property (Official Form 106A/B)
da. Copy line 55, Total real estate, from Schedule A/B.....cccccccciccceccsisescsseseesesessessssesecuuessavessesasenseassessusseesseseuenteessaanees $ 20,000,000.00
1b. Copy line 62, Total personal property, from Schedule A/B.... ccc enseeres seers teeeterareetscerseeseteseeeeesesneenneneee $ 25,767.00
1c. Copy line 63, Total of all property on Schedule A/B.........cccecceccssccssceeceeecsceseesecaeeseecseeseecsesseceessesaeeaseaesnessnressesiees $ 20,025,767.00

wa Summarize Your Liabilities _ — ee

Your liabilities
Amount you owe

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D... $ _ 5,242,1 15.17

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)

3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule EVF, ......ccccerereesererereee $ _ 0.00,

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F...... cece eee $ 74,880.50

Your total liabilities | $ 5,316,995.67
Summarize Your Income and Expenses _

4. Schedule I: Your Income (Official Form 1061)

Copy your combined monthly income from line 12 Of SCHECUIE [oe ccccccceccccteesssseeteeeunesessseeessuteesesseeeccieensueneeeeee $ _ 78,430.00
5, Schedule J: Your Expenses (Official Form 106J)

$ 7,760.00

Copy your monthly expenses from line 22c Of SCHEGUIE Woecccecicsccccscecenssevsereretiststesscnsesesevetseeeeeees iiaisianaaeny _

IGEZEE Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
1 No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

M Yes
7. What kind of debt do you have?

O Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

fm Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
the court with your other schedules.
Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2

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8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

a Total claim
From Part 4 on Séhedule E/F, copy the following:
9a. Domestic support obligations (Copy line 6a.) $
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $
9d. Student loans. (Copy line 6f.) $
9e. Obligations arising out of a separation agreement or divorce that you did not report as
priority claims. (Copy line 6g.)
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +§
9g. Total. Add lines 9a through 9f. $
Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2

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UMMM Chir lecomcom Tan cell mer lt alae mem IT: Hl

Debtor 1 Jong Uk Byun

First Name Middle Name Last Name
Debtor 2
{Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the:

Case number

2:23-bk-12747-VZ

Official Form 106A/B

Schedule A/B: Property

CENTRAL DISTRICT OF CALIFORNIA

Desc

1) Check if this is an
amended filing

12/15

In each category, separately list and describe items. List an asset only once, If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

ara Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

01 No. Go to Part 2.

I Ves. Where is the property?

1.4

2203 S. Alameda St.

Street address, if available, or other description

Los Angeles CA 90058-0000
City Slate ZIP Code
Los Angeles

County

Official Form 106A/B

What is the property? Check all that apply
Single-family home
Duplex or multi-unit building

Condominium or cooperative

Manufactured or mobile home
Land

Investment property
Timeshare
Other Industrial

BOOOoO0 000

Ww

=>

o has an interest in the property? Check one
Debtor 1 only

O debtor 2 only

1 debtor 4 and Debtor 2 only

CJ atleast one of the debtors and another

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
portion you own?

$7,500,000.00

Current value of the
entire property?

$7,500,000.00

Describe the nature of your ownership interest
(such as fee simple, tenancy by the entireties, or
a life estate), if known.

Fee simple

oO Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

Value is an estimate which may be refined through further valuation.

Schedule A/B: Property

page 1
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If you own or have more than one, list here:
1.2 What is the property? Check all thal apply

2445 S. Alameda St. 1 Single-family home Do not deduct secured claims or exemptions, Put
Street address, if available, or other description Bal — the amount of any secured claims on Schedule D:
fe Punto) mall unideuliding Creditors Who Have Claims Secured by Property
oO Condominium or cooperative
(1 Manufactured or mobile home
Current value of the Current value of the
Los Angeles CA 90058-0000 [I] Land entire property? portion you own?
City State ZIP Code [Investment property $6,500,000.00 $6,500,000.00
(1 Timeshare
. Describe the nature of your ownership interest
M@ other Industrial (such as fee simple, tenancy by the entireties, or
Who has an interest in the property? Check one a life estate), if known.
Debtor 1 only Fee simple
Los Angeles C1) Debtor 2 only
County 01 Debtor 1 and Debtor 2 only

Check if this is community property
Oo At least one of the debtors and another O (see instructions)

Other information you wish to add about this item, such as local
property identification number:

Value is an estimate which may be refined through further valuation.

If you own or have more than one, list here:
1.3 What is the property? Check all that apply

24399 Old Highway 58

Street address, if available, or other description

Single-family home Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:

Buples endinnltictmitaisuilcing Creditors Who Have Claims Secured by Property.

Condominium or cooperative

Oo
oO
O
1 Manufactured or mobile home
oO
Oo
Oo
oH

. Current value of the Current value of the
Hinkley CA 92347-0000 Land entire property? portion you own?
City State ZIP Code Investment property $500,000.00 $500,000.00
Timeshare
. Describe the nature of your ownership interest
Other Industrial (such as fee simple, tenancy by the entireties, or
Who has an interest In the property? Check one a life estate), if known.
Ml Debtor 1 only Fee simple
San Bernardino D1 Debtor 2 only
County C1 Debtor 1 and Debtor 2 only

Check if this is community property
Oo At least one of the debtors and another O (see instructions)

Other information you wish to add about this item, such as local
property identification number:

Value is an estimate which may be refined through further valuation.

Official Form 106A/B Schedule A/B: Property page 2
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Debtor? Jong Uk Byun

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Case number (if known)

If you own or have more than one, list here:

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1.4 What is the property? Check all that apply
1736 E. 24th St. (1 Single-family home Do not deduct secured claims or exemptions, Put
Street address, if available, or other description a ae the amount of any secured claims on Schedule D:
1 Ouplex or multi-unit building Creditors Who Have Claims Secured by Property.
[J Condominium or cooperative
1 Manufactured or mobile home
Current value of the Current value of the
Los Angeles CA 90058-0000 ( Land entire property? portion you own?
City Stale ZIP Code [1 Investment property $4,500,000.00 $4,500,000.00
(C1 Timeshare
* Describe the nature of your ownership interest
M@ other Industrial (such as fee simple, tenancy by the entireties, or
Who has an interest in the property? Check one a life estate), if known.
Hi Debtor 1 only Fee simple
Los Angeles 0) Debtor 2 only
County
O1 Debtor 4 and Debtor 2 only Oo Check if this is community property
O At least one of the debtors and another (see instructions)
Other information you wish to add about this item, such as local
property identification number:
Value is an estimate which may be refined through further valuation.
If you own or have more than one, list here:
1.5 What is the property? Check ail that apply
1746 E 22nd St. D1 Single-family home Do not deduct secured claims or exemptions. Put
Street address, if available, or other description nit Ea the amount of any secured claims on Schedule D:
i) Bbplexdes Maultiaumlt mulling Creditors Who Have Claims Secured by Property.
oO Condominium or cooperative
(1 Manufactured or mobile home
Land Current value of the Current value of the
Los Angeles CA 90058-0000 mean entire property? portion you own?
Cily State ZIP Code oO Investment property $1 ,000,000.00 $1 ,000,000.00
C1 Timeshare
. Describe the nature of your ownership interest
Mother Parking lot (such as fee simple, tenancy by the entireties, or
Who has an interest in the property? Check one a life estate), if known.
WM Debtor 1 only Fee simple
Los Angeles C1) Debtor 2 only
County
C1 Debtor 1 and Debtor 2 only Check if this is community property
[1] Atleast one of the debtors and another (see instructions)
Other information you wish to add about this item, such as local
property identification number:
Value is an estimate which may be refined through further valuation.
2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
y ¥ , = $20,000,000.00

pages you have attached for Part 1. Write that number here

Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. lf you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

Official Form 106A/B

Schedule A/B: Property

page 3
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Debtor1 Jong Uk Byun Case number (if known) 2:23-bk-12747-VZ

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

O No
Yes
. Honda . . Do not deduct secured claims or exemptions. Put
3.1. Make: Who has an interest in the property? Check one the amount of any secured claims on Schedule D:
Model: Ridgeline & Debtor 1 only Creditors Who Have Claims Secured by Property.
Year: 2017 CZ) Debtor 2 only Current value of the Current value of the
Approximate mileage: 250,000 O1 Debtor 1 and Debtor 2 only entire property? portion you own?
_ Other information: C1 At least one of the debtors and another
Location: 3439 Padua Ave.,
Claremont CA 91711 O Check if this is community property $12,618.00 $12,618.00

(see instructions)

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

HNo
C Yes

5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
.pages you have attached for Part 2. Write that number here........:csscccessonsersssesesseasserseasnennecconessvecensnenenersennnes => $12,618.00

nen Describe Your Personal and Household Items

Do you own or have any legal or equitable interest in any of the following items? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.
6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

ONo
W@ Ves. Describe...

2 couches, 2 bookcases, 4 desks, 14 chairs, 2 tables, 10 lamps, 5
i beds, mirror, refrigerator, stove, microwave, dishwasher,
| cookware, dishes, small appliances, washing machine, dryer,
| sewing machine, vacuum cleaner, tools;

Location: 3439 Padua Ave., Claremont CA 91711 $7,400.00

7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices

including cell phones, cameras, media players, games
O No
i Yes. Describe.....

3 TVs, radio, stereo, DVD player, 3 computers;
Location: 3439 Padua Ave., Claremont CA 91711 $1,200.00

8. Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;

other collections, memorabilia, collectibles
HNo
1 Yes. Describe...
9. Equipment for sports and hobbies

Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
musical instruments

HI No
Official Form 106A/B Schedule A/B: Property page 4
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Debtor 4 Jong Uk Byun Case number (ifknown) 2:23-bk-12747-VZ

(1 Yes. Describe.....

10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment

DO No
Ml Ves. Describe.....

Personal clothing for Debtor and his family;

Location: 3439 Padua Ave., Claremont CA 91711 $1,000.00
11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
No

1 Yes. Describe...

12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver

Hi No
C Yes. Describe...

13. Non-farm animals
Examples: Dogs, cats, birds, horses

Hi No
[1] Yes. Describe...

14. Any other personal and household items you did not already list, including any health aids you did not list
O1No

Hl Yes. Give specific information.....

Blood pressure monitor;
Location: 3439 Padua Ave., Claremont CA 91711 $20.00

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
for Part 3. Write that number here .....ccscsersessecesrseeee : $9,620.00

Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own?

Do not deduct secured
claims or exemptions.

16. Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

CNo
Cash $358.00

17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar

institutions. If you have multiple accounts with the same institution, list each.
O No
Institution name:
Checking account

number ending in
17.1. 3703 Wells Fargo Bank $1,615.00

Official Form 106A/B Schedule A/B: Property page 5
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Checking account

number ending in
17.2. 3541 Hanmi Bank $0.00

18. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

HM No
Ol Yes Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
joint venture

ONo
Mi Yes. Give specific information about them...
Name of entity: % of ownership:
Central Metal, Inc. 100 % Unknown

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

HNo

0 Yes. Give specific information about them
Issuer name:

21. Retirement or pension accounts
Examples: Interests in JRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

ONo

@ Yes. List each account separately.
Type of account: Institution name:

SSI SSI $1,556.00

22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others

HNo

DYES. eecceeccecseeeeeeee Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

HNo

Cl yYes Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

No
O Yes Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit

BNo

O Yes. Give specific information about them...
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

BNo
0 Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
B No

C1 Yes. Give specific information about them...

Official Form 106A/B Schedule A/B: Property page 6
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Money or property owed to you? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

28. Tax refunds owed to you
M No

0 Yes. Give specific information about them, including whether you already filed the returns and the tax years.......

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

HNo

O Yes. Give specific information......

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
benefits; unpaid loans you made to someone else

Mi No
0 Yes. Give specific information.

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

XO No

lB Yes. Name the insurance company of each policy and list its value.
Company name: Beneficiary: Surrender or refund
value:

New York Life Insurance (Term Life) Children $0.00

32. Any interest in property that is due you from someone who has died
If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
someone has died.

BNo

O Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

[CI No

Yes. Describe each claim.........

| Claim against PACKO INVESTMENTS, INC., A CALIFORNIA
CORPORATION, ET AL, case number 23STCV07931. Unknown

| Possible claims against FA and Real Estate Broker Unknown

34, Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
B No
C1 Yes. Describe each claim.........

35. Any financial assets you did not already list
BNo
C1 Yes. Give specific information..

36. Add the dollar value of all of your entries from Part 4, including any ¢ entries for pages you have attached

for Part 4. Write that mumber Nere..........ccssssccsscssecssseseescnsseesesecsecesseneccsdcassasevassessasssassansaasecescoesnsnsseneneesensaenae $3,529.00

[ees Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

Official Form 106A/B Schedule A/B: Property page 7
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Debtor? Jong Uk Byun Case number (ifknown) 2:23-bk-12747-VZ

37. Do you own or have any legal or equitable interest in any business-related property?
BH No. Go to Part 6.
O Yes. Go to line 38.

Cetadswe Describe Any Farm- and Commercial FishIng-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
BE No. Go to Part 7.
11 Yes. Go to line 47.

Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

ONo

@ Yes. Give specific information.........

Matthew Eanet 77777? $0.00

54. Add the dollar value of all of your entries from Part 7. Write that number here ......:scccsssseeereeseseeesens $0.00
List the Totals of Each Part of this Form

55. Part 1: Total real estate, ine 2 ......sssccsssssesereensessrssseenneensensnannesenseanenseensetessnsnenseesensnnsanstansentnnssersesneananensenses $20,000,000.00
56. Part 2: Total vehicles, line 5 $12,618.00

57. Part 3: Total personal and household items, line 15 $9,620.00

58. Part 4: Total financial assets, line 36 $3,529.00

59. Part 5: Total business-related property, line 45 $0.00

60. Part 6: Total farm- and fishing-related property, line 52 $0.00

61. Part 7: Total other property not listed, line 54 + $0.00

62. Total personal property. Add lines 56 through 61... $25,767.00 | Copy personal property total $25,767.00
63. Total of all property on Schedule A/B. Add line 55 + line 62 $20,025,767.00

Official Form 106A/B Schedule A/B: Property page 8
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Debtor 1 Jong Uk Byun

First Name Middle Name Last Name
Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: CENTRAL DISTRICT OF CALIFORNIA

Case number 2:23-bk-12747-VZ
(if known) OO Check if this is an

amended filing

Official Form 106C
Schedule C: The Property You Claim as Exempt 4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a {aw that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

(GENS Identity the Property You Claim as Exempt
1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
@ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
CO You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption
Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption.
Schedule A/B
2017 Honda Ridgeline 250,000 miles $12,618.00 a $7,500.00 C.C.P. § 703.140(b)(2)
Location: 3439 Padua Ave., : ’
Claremont CA 91711 1 400% of fair market value, up to
Line from Schedule A/B: 3.1 any applicable statutory limit
2017 Honda Ridgeline 250,000 miles $12,618.00 $5,118.00 ©-C.P. § 703.140(b)(5)
Location: 3439 Padua Ave., , ,
Claremont CA 91711 O 100% of fair market value, up to
Line from Schedule A/B: 3.1 any applicable statutory limit
2 couches, 2 bookcases, 4 desks, 14 $7,400.00 $7,400.00 C.C.P. § 703.140(b)(3)
chairs, 2 tables, 10 lamps, 5 beds, :
mirror, refrigerator, stove, 0 400% of fair market value, up to
microwave, dishwasher, cookware, any applicable statutory limit

dishes, small appliances, washing
machine, dryer, sewing machine,
vacuum cleaner, tools;

Location: 3439 Padua Ave., Clare
Line from Schedule A/B: 6.1

3 TVs, radio, stereo, DVD player, 3 $1,200.00 $1,200.00 C.C.P. § 703.140(b){3)
computers;

Location: 3439 Padua Ave., O  1400% of fair market value, up to

Claremont CA 91711 any applicable statutory limit

Line from Schedule A/B: 7.1

Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of 2
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Case number (if known)

Case 2:23-bk-12747-VZ

Debtor 1 2:23-bk-12747-VZ

Official Form 106C

Jong Uk Byun

Brief description of the property and line on
Schedule A/B that lists this property

Current value of the
portion you own

Copy the value from

Amount of the exemption you claim

Check only one box for each exemption.

Specific laws that allow exemption

Schedule A/B
Personal clothing for Debtor and his $1,000.00 fm $1,000.00 ©-C.P. § 703.140(b)(3)
family; _— ,
Location: 3439 Padua Ave., O 100% of fair market value, up to
Claremont CA 91711 any applicable statutory limit
Line from Schedule A/B: 10.1
Blood pressure monitor; 20.00 ©-C.P. § 703.140(b)(9)
Location: 3439 Padua Ave., $20.00 = $20.
Claremont CA 91711 O 100% of fair market value, up to
Line from Schedule A/B: 14.1 any applicable statutory limit
Line from Schedule A/B: 16.1
C1 400% of fair market value, up to

any applicable statutory limit
Checking account number ending in 1.615.00 1,615.00 ©-©.P. § 703.140(b)(5)
3703: Wells Fargo Bank $1,615. 7 $1,
Line from Schedule A/B: 17.1 O 400% of fair market value, up to

any applicable statutory limit
SSI: SSI $1,556.00 i $1,556.00 C.C.P. § 703.140(b)(10)(A)
Line from Schedule A/B: 21.1

1 100% of fair market value, up to

any applicable statutory limit
New York Life Insurance (Term Life) $0.00 i Unknown  ©-C.P. § 703.140(b)(11)(D)
Beneficiary: Children
Line from Schedule A/B; 31.1 0 100% of fair market value, up to

any applicable statutory limit
Claim against PACKO Unk Unknown  ©-C©.P. § 703.140(b)(11)(E)
INVESTMENTS, INC., A CALIFORNIA a
CORPORATION, ET AL, case number C1 100% of fair market vatue, up to
23STCV07931. any applicable statutory limit
Line from Schedule A/B: 33.1
Possible claims against FA and Real Unknown ff Unknown  ©-C.P. § 703.140(b)(11)(E)
Estate Broker
Line from Schedule A/B: 33.2 O 100% of fair market value, up to

. Are you claiming a homestead exemption of more than $189,050?
(Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

mM No

1 Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
O No
Ol Yes

any applicable statutory limit

Schedule C: The Property You Claim as Exempt

page 2 of 2
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STMT MUA celacerl Cole Com eC Til aan Zell met: Foy-F

Debtor 1 Jong Uk Byun

First Name Middte Name Last Name
Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: CENTRAL DISTRICT OF CALIFORNIA

Case number 2:23-bk-12747-VZ

(if known)

(0 Check if this is an
amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property

12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).

1. Do any creditors have claims secured by your property?
0 No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
IB Yes. Fill in all of the information below.

List All Secured Claims

2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately ee eee Column C
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As Amount of claim Value of collateral Unsecured
much as possible, list the claims in alphabetical order according to the creditor's name. Do not deduct the that supports this portion
/ value of collateral. claim If any
24 BAE Family Trust Dated
"| Aug. 6, 2015 Describe the property that secures the claim: $1,290,000.00 $1,000,000.00 $290,000.00

Creditor's Name | 4746 E 22nd St. Los Angeles, CA
. 90058 Los Angeles County

Young U. Bae, clo Packo . 4 .
| Value is an estimate which may be

Investments u
440 S Vermont Ave. refined through further valuation.
Suite 301 ; As of the date you file, the claim is: Check ail thal

apply.
O Contingent
QO Unliquidated

O Disputed
Nature of lien. Check all that apply.

Los Angeles, CA 90020
Number, Street, City, State & Zip Code

Who owes the debt? Check one.
DO Debtor 1 only

CO Debtor 2 only

C1 Debtor 1 and Debtor 2 only

Olan agreement you made (such as mortgage or secured
car loan)
O Statutory lien (such as tax lien, mechanic's lien)

M@ Atleast one of the debtors and another +O Judgment lien from a lawsuit

CO Check if this claim retates to a
community debt

BF other (including a right to offset) Lien

Date debt was incurred Last 4 digits of account number

Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 8
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Debtor1 Jong Uk Byun Case number (if known) 2:23-bk-12747-VZ
First Name Middle Name Last Name
2.2 Bejac Corp. _ Describe the property that secures the claim: $11,482.26 $7,500,000.00 $0.00
Creditor's Name | 2203 S. Alameda St. Los Angeles,

: CA 90058 Los Angeles County

‘Value is an estimate which may be

Attn: President or Corp. , refined through further valuation.

Officer As of the date you file, the claim is: Check all that .

569 S. Van Buren St. apply.

Placentia, CA 92870 HH contingent

Number, Street, City, State & Zip Code a Unliquidated

Oo Disputed

Who owes the debt? Check one. Nature of lien. Check all that apply.
D1 Debtor 4 only Dan agreement you made (such as mortgage or secured
D1 Debtor 2 only car loan)
O Debtor 1 and Debtor 2 only O Statutory lien (such as tax lien, mechanic's lien)

atleast one of the debtors and another (il Judgment lien from a lawsuit

CO Check if this claim relates to a DO other (including a right to offset)
community debt

Date debt was incurred 05/11/2017 Last 4 digits of account number 7440

93° Broadway Advance

} . ! Funding, LLC Describe the property that secures the claim: $220,862.90 $7,500,000.00 $0.00
CreditonsiName| i 2203 S. Alameda St. Los Angeles,
'CA 90058 Los Angeles County
Attn: President of Corp. Value is an estimate which may be
Officer refined through further valuation.
20 N. 3rd St. As et the date you file, the claim is: Check all that
Philadelphia, PA 19106 C1 contingent
Number, Street, City, State & Zip Code 1B Untiquidated
oO Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
 pebtor 1 only Dan agreement you made (such as mortgage or secured
0 Debtor 2 only car loan)
C1 Debtor 4 and Debtor 2 only 0 Statutory lien (such as tax lien, mechanic's lien)
C1 Atleast one of the debtors and another ill Judgment lien from a lawsuit
OD Check if this claim relates to a H other (including a right to offset) Holds Judgment jointly with Complete Business Solutions
community debt Group
Date debt was incurred 2018 Last 4 digits of account number

Official Form 106D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 2 of 8
Case 2:23-bk-12747-VZ Doc17_ Filed 05/18/23 Entered 05/18/23 18:37:16 Desc

Debtor 1 Jong Uk Byun

First Name

- Complete Business

Solutions Group
Creditor's Name

2.4

Attn: President of Corp.
Officer

20 N. 3rd St.
Philadelphia, PA 19106

Number, Street, City, State & Zip Code

Who owes the debt? Check one.

O Debtor 1 only

OO Debtor 2 only

O Debtor 1 and Debtor 2 only

a At least one of the debtors and another

U1 Check if this claim relates to a
community debt

Date debt was incurred

County of San

Middle Name

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Case number (if known) 2:23-bk-12747-VZ
Last Name

$220,862.90 $4,500,000.00 $0.00

Describe the property that secures the claim:

1736 E. 24th St. Los Angeles, CA
90058 Los Angeles County

Value is an estimate which may be
refined through further valuation.

As of the date you file, the claim is: Check all that
apply.

O Contingent

a Unliquidated

Oo Disputed
Nature of lien. Check all that apply.

DO an agreement you made (such as mortgage or secured
car loan)
O Statutory lien (such as tax lien, mechanic's lien)
a Judgment lien from a lawsuit
Holds Judgment jointly with Broadway Advance Funding

i other (including a right to offset)
LLC

9611

Last 4 digits of account number

£
25 Bernardino Describe the property that secures the claim: $79,562.88 $500,000.00 $0.00
Greditors]iitne 24399 Old Highway 58 Hinkley, CA
Office of the Tax 92347 San Bernardino County
Collector Value is an estimate which may be
268 W. Hospitality Ln., refined through further valuation.
1st Floor As of the date you file, the claim is: Check all that
San Bernardino, CA apply.
92415 I contingent
Number, Streel, City, State & Zip Code D1 unliquidated
Oo Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
OQ Debtor 1 only D An agreement you made (such as mortgage or secured
C1 Debtor 2 only car loan)
C1 Debtor 1 and Debtor 2 only MM Statutory lien (such as tax lien, mechanic's lien)
I Atleast one of the debtors and another C1 Judgment lien from a lawsuit
C1 Check if this claim relates to a DO other (including a right to offset)
community debt
Date debt was incurred Last 4 digits of accountnumber 0000
Official Form 106D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 3 of 8
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Debtor 1 Jong Uk Byun Case number (if known) 2:23-bk-12747-VZ
First Name Middle Name Last Name
[2.6 | CP Construction Co., Inc. Describe the property that secures the claim: $7,450.00 $4,500,000.00 $0.00
Creditor's Name 1736 E. 24th St. Los Angeles, CA

90058 Los Angeles County

Attn: President or Corp. Value is an estimate which may be

Officer refined through further valuation,
h = im is:
405 N. Loma Place ae ert e date you file, the claim is: Check all thal
Upland, CA 91786 CO contingent
Number, Streel, City, Stale & Zip Code C1 unliquidated
O Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
O Debtor 1 only Olan agreement you made (such as mortgage or secured
C1 Debtor 2 only car loan)
O1 Debtor 1 and Debtor 2 only O Statutory lien (such as tax lien, mechanic's lien)
Atleast one of the debtors and another U1 Judgment lien from a tawsuit
C1 Check if this claim relates to a other (including a right to offset) Lien
community debt
Date debt was incurred 2018 Last 4 digits of account number 2265
27° Creditors Adjustment
~_| Bureau, Inc. Describe the property that secures the claim: $1 96,599.57 $6,500,000.00 $0.00
Creditors Name 2445 S. Alameda St. Los Angeles,

-CA 90058 Los Angeles County

atnaP resident er Corp: ‘Value is an estimate which may be

pada ton Ave.. 3rd ‘refined through further valuation. _
UITON Ave., of As of the date you file, the claim is: Check all that

Floor apply.

Sherman Oaks, CA 91423 Ml Contingent

Number, Street, City, State & Zip Code 0 unliquidated

oO Disputed

Who owes the debt? Check one. Nature of fien. Check all that apply.
CO] Debtor 1 only Olan agreement you made (such as mortgage or secured
DO Debtor 2 only car loan)
[1 Debtor 1 and Debtor 2 only O Statutory lien (such as tax lien, mechanic's lien)

MF Atieast one of the debtors and another ill Judgment lien from a lawsuit

CO Check if this claim relates to a O other (including a right to offset)
community debt

Date debt was incurred 2014 Last 4 digits of account number 5593

Official Form 106D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 4 of 8
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Debtor 1 Jong Uk Byun

First Name

Employment
Development Department
Creditor’s Name

Bankruptcy Group MIC
92E

Po Box 826880
Sacramento, CA
94280-0001

Number, Street, City, Stale & Zip Code

Who owes the debt? Check one.

D Debtor 1 only

C1 Debtor 2 only

(C1 Debtor 4 and Debtor 2 only

HH atleast one of the debtors and another

CI Check if this claim relates to a
community debt

Date debt was incurred 2021

2.9 ‘Franchise Tax Board
Creditor's Name

Bankruptcy Section, MS:
A-340

Po Box 2952
Sacramento, CA
95812-2952

Number, Street, City, State & Zip Code

Who owes the debt? Check one.

CQ Debtor 1 only

D1 Debtor 2 only

D1 Debtor 1 and Debtor 2 only

HH At least one of the debtors and another

C] Check if this claim relates to a
community debt

Date debt was incurred

Official Form 106D

Middle Name

Main Document Page 19 of 68
Case number (if known)

Last Name

$11,037.00 $7,500,000.00

Describe the property that secures the claim:
| 2203 S. Alameda St. Los Angeles,
‘CA 90058 Los Angeles County
Value is an estimate which may be
refined through further valuation.

As of the date you file, the claim is: Check all that
apply.

a Contingent

C1 unliquidated

a Disputed

Nature of lien. Check all that apply.

DO An agreement you made (such as mortgage or secured

car loan)

Oo Statutory lien (such as tax lien, mechanic's lien)
O Judgment lien from a lawsuit

fl other (including a right to offset) Lien
Last 4 digits of account number 1960

$2,551 ,499.31 $6,500,000.00

Describe the property that secures the claim:

' 2445 S. Alameda St. Los Angeles,
'CA 90058 Los Angeles County
: Value is an estimate which may be

refined through further valuation.

As of the date you file, the claim is: Check all that
apply.

O Contingent

Hi Uniiquidated

a Disputed
Nature of lien. Check all that apply.

Olan agreement you made (such as mortgage or secured
car loan)

O Statutory lien (such as tax lien, mechanic's lien)
0 Judgment lien from a lawsuit
HF other (including a right to offset) Tax Lien, Returned Amended

Last 4 digits of accountnumber 4418

Additional Page of Schedule D: Creditors Who Have Claims Secured by Property

2:23-bk-12747-VZ

$0.00

$0.00

page 5 of 8
Case 2:23-bk-12747-VZ Doc17_ Filed 05/18/23 Entered 05/18/23 18:37:16 Desc

Debtor1 Jong Uk Byun

First Name

_ Los Angeles County Tax

i Collector
Creditor’s Name

12.1
0.

Bankruptcy Unit
Po Box 54110
Los Angeles, CA
90054-0110

Number, Street, City, Slate & Zip Code

Who owes the debt? Check one.

CI Debtor 1 only

C1 Debtor 2 only

O Debtor 1 and Debtor 2 only

Atleast one of the debtors and another

OO Check if this claim relates to a
community debt

Date debt was incurred

2.1
4 Mohamed Sanfaz
Creditor's Name

C/o Packo Investments
440 S Vermont Ave.,
Suite 301

Los Angeles, CA 90020

Number, Streel, City, Stale & Zip Code

Who owes the debt? Check one.

DO Debtor 1 only

D1 Debtor 2 only

CJ Debtor 1 and Debtor 2 only

Bl At least one of the debtors and another

OO Check if this claim relates to a
community debt

Date debt was incurred 2022

Official Form 106D

Middle Name

Main Document

Last Name

Page

Describe the property that secures the claim:

/ 1736 E. 24th St. Los Angeles, CA

i 90058 Los Angeles County

i Value is an estimate which may be
refined through further valuation.
As of the date you file, the claim is: Check all that

apply.
O Contingent
O Unliquidated

O Disputed
Nature of lien. Check all that apply.

20 of 68

Case number (if known)

$4,639.17

Olan agreement you made (such as mortgage or secured

car loan)

D Statutory lien (such as tax lien, mechanic's lien)

oO Judgment lien from a lawsuit

B other (including a right to offset)

Last 4 digits of account number

0396

Describe the property that secures the claim:

2203 S. Alameda St. Los Angeles,

CA 90058 Los Angeles County

Value is an estimate which may be
refined through further valuation.
As of the date you file, the claim is: Check all that

apply.
O Contingent
WH Unliquidated

oO Disputed
Nature of lien. Check all that apply.

Property Taxes

$648,119.18

Olan agreement you made (such as mortgage or secured

car loan)

O Statutory lien (such as tax lien, mechanic's lien)

0 Judgment lien from a lawsuit

Bi other (including a right to offset)

Last 4 digits of account number

Lien

3047

2:23-bk-12747-VZ

$4,500,000.00

$7,500,000.00

Additional Page of Schedule D: Creditors Who Have Claims Secured by Property

$0.00

$0.00

page 6 of 8
Case 2:23-bk-12747-VZ Doc17_ Filed 05/18/23 Entered 05/18/23 18:37:16 Desc

Debtor 1 Jong Uk Byun

First Name

2A

2 Prime Metals USA.,

Creditor's Name

Attn: President or Corp.

Officer

1440 N. Harbor Blvd.,

#640

Fullerton, CA 92835
Number, Street, City, Slate & Zip Code

Who owes the debt? Check one.

C1 Debtor 1 only
D1 Debtor 2 only
CJ Debtor 1 and Debtor 2 only

Main Document Page 21 of 68
Case number (if known)
Middte Name Last Name

Inc. Describe the property that secures the claim:

2445 S. Alameda St. Los Angeles,
CA 90058 Los Angeles County
Value is an estimate which may be
refined through further valuation.

As of the date you file, the claim is: Check all that
apply

O Contingent

DO unliquidated

o Disputed

Nature of lien. Check all that apply.

Olan agreement you made (such as mortgage or secured
car loan)

O Statutory lien (such as tax lien, mechanic's lien)

IMI atleast one of the debtors and another [1 Judgment lien from a lawsuit

CI Check if this claim relates to a

community debt

Date debt wasincurred |

BB other {including a right to offset) UCC-1 Lien

Last 4 digits of account number

$5,242,115.17

2:23-bk-12747-VZ

$0.00 $6,500,000.00

$0.00

Add the dollar value of your entries in Column A on this page. Write that number here:

If this is the last page of your form, add the dollar value totals from all pages.
Write that number here:

(GEE List Others to Be Notified for a Debt That You Already Listed

$5,242,115.17 |

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. if you do not have additional persons to be notified for any

debts in Part 1, do not fill out or submit this page.

U1 Name, Number, Street, City, State & Zip Code
Complete Business Solutions Group
Attn: President of Corp. Officer
141 N 2nd St.
Philadelphia, PA 19106

Name, Number, Street, City, State & Zip Code
Complete Business Solutions Group
C/o Pietragallo Gordon Alfano Bosic
7 West State Street, Suite 100
Sharon, PA 16146

Name, Number, Street, City, State & Zip Code
Complete Business Solutions Group
Attn: President of Corp. Officer

3255 E South St K-205

Long Beach, CA 90805

Name, Number, Street, City, State & Zip Code
Creditors Adjustment Bureau, Inc.
C/o Law Offices of Kenneth J. Freed
4340 Fulton Ave., 3rd Floor
Sherman Oaks, CA 91423

Official Form 106D

Additional Page of Schedule D: Creditors Who Have Claims Secured by Property

On which line in Part 1 did you enter the creditor? 2.4

Last 4 digits of account number ___

On which line in Part 1 did you enter the creditor? 2.4

Last 4 digits of account number

On which line in Part 1 did you enter the creditor? _2.4

Last 4 digits of account number __

On which line in Part 1 did you enter the creditor? 2.7

Last 4 digits of account number ___

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Debtor 1 Jong Uk Byun Case number (if known) 2:23-bk-12747-VZ
First Name Middle Name Last Name
{ ] : .
Name, Number, Street, City, State & Zip Code On which line in Part 1 did you enter the creditor? _2.12
Prime Metals USA., Inc.
C/o Lee Anav Chung White Kim Ruger Last 4 digits of account number __

520 S Grand Ave., Ste. 1070
Los Angeles, CA 90071

Official Form 106D Additional Page of Schedule D: Creditors Who Have Claims Secured by Property page 8 of 8
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Main Document

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| Debtor 1 Jong Uk Byun
| First Name Middle Name Last Name
| Debtor 2

(Spouse if, filing) First Name Middle Name Last Name

|
! United States Bankruptcy Court for the:

Case number 2:23-bk-12747-VZ

‘(if known)

Official Form 106E/F

CENTRAL DISTRICT OF CALIFORNIA

Desc

O Check if this is an

Schedule E/F: Creditors Who Have Unsecured Claims

amended filing

12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your

name and case number (if known).

List All of Your PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims against you?

C1 No. Go to Part 2.
a Yes.

2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
identify what type of claim itis. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority unsecured claims, fill out the Continuation Page of
Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

i California Department of Tax &
21 Fee
Priority Creditor's Name
Administration/Special Ops,
MiC:55
Po Box 942879

Sacramento, CA 94279-0055
Number Street City State Zip Code

Who incurred the debt? Check one.

BE Debtor 1 only

C1 Debtor 2 only

D1 Debtor 1 and Debtor 2 only

0 At least one of the debtors and another

C1 Check if this claim is for a community debt
Is the claim subject to offset?

a No
OC Yes

Official Form 106 E/F

Priority
amount

Total claim

$0.00

Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that apply
O Contingent
D unliquidated

O Disputed
Type of PRIORITY unsecured claim:

O Domestic support obligations

I taxes and certain other debts you owe the government
O claims for death or personal injury while you were intoxicated

D1 other. Specify

Schedule E/F: Creditors Who Have Unsecured Claims

38896

Nonpriority
amount

$0.00 $0.00

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Debtor1 Jong Uk Byun

2.2 |

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Official Form 106 E/F

City of Los Angeles

Priority Creditors Name _

Office of Finance

Po Box 53233

Los Angeles, CA 90053-0233

Number Street City State Zip Code
Who incurred the debt? Check one.

B Debtor 1 only

O1 Debtor 2 only

D1 Debtor 1 and Debtor 2 only

DC At least one of the debtors and another

C1 Check if this claim is fora community debt
Is the claim subject to offset?

Bno

O yes

Employment Development

Department
Priority Creditor's Name

Bankruptcy Group MIC 92E
Po Box 826880

Sacramento, CA 94280-0001
Number Street City State Zip Code

Who incurred the debt? Check one.

i Debtor 1 only

OO Debtor 2 only

DO Debtor 1 and Debtor 2 only

CO Atteast one of the debtors and another

O Check if this claim is for a community debt

Is the claim subject to offset?
Bno
O yes

Franchise Tax Board

Priority Creditor's Name

Bankruptcy Section, MS: A-340
Po Box 2952

Sacramento, CA 95812-2952
Number Street City State Zip Code

Who incurred the debt? Check one,

B Debtor 1 only

D1 Debtor 2 only

D1 Debtor 1 and Debtor 2 only

C7 At least one of the debtors and another

CO Check if this claim is for a community debt
Is the claim subject to offset?

Bino
Yes

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Case number (if known)

$0.00

Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that apply
oO Contingent
oO Unliquidated

oO Disputed
Type of PRIORITY unsecured claim:

0 Domestic support obligations
WW Taxes and certain other debts you owe the government
DO claims for death or personal injury while you were intoxicated

OO other Specify

$0.00

Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that apply
QO Contingent
O Unliquidated

O Disputed
Type of PRIORITY unsecured claim:

0 Domestic support obligations
i Taxes and certain other debts you owe the government
D claims for death or personal injury while you were intoxicated

O other. Specify

$0.00

Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that apply
O Contingent
D0 unliquidated

O Disputed
Type of PRIORITY unsecured claim:

OO Domestic support obligations
Wi Taxes and certain other debts you owe the government
1 Claims for death or personal injury while you were intoxicated

O other. Specify

Schedule E/F: Creditors Who Have Unsecured Claims

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$0.00

$0.00

$0.00

$0.00

$0.00

$0.00

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Debtor 1 Jong Uk Byun

2.5

2.6

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Official Form 106 E/F

Internal Revenue Service
Priority Creditor's Name

Po Box 7346

Philadelphia, PA 19101-7346
Number Street City State Zip Code

Who incurred the debt? Check one.

Bl Debtor 1 only

D1 Debtor 2 only

C Debtor 1 and Debtor 2 only

[1 at least one of the debtors and another

CO Check if this claim is for a community debt
Is the claim subject to offset?

BNo

0 Yes

Los Angeles County Tax

Collector

Priority Creditor's Name

Bankruptcy Unit

Po Box 54110

Los Angeles, CA 90054-0110
Number Street City State Zip Code

Who incurred the debt? Check one.

Ml Debtor 1 only

C1 Debtor 2 only

O Debtor 1 and Debtor 2 only

C1 at least one of the debtors and another

U1 Check if this claim is for a community debt
Is the claim subject to offset?

a No
0 Yes

Los Angeles County Tax

Collector
Priority Creditor's Name

Bankruptcy Unit
Po Box 54110

Los Angeles, CA 90054-0110
Number Street City State Zip Code

Who incurred the debt? Check one.

Bi bebtor 1 only

D1 Debtor 2 only

C1 Debtor 1 and Debtor 2 only

D Atteast one of the debtors and another

CO Check if this claim is for a community debt
Is the claim subject to offset?

Bo

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Case number (if known)

$0.00

Last 4 digits of account number
When was the debt incurred?

As of the date you file, the claim is: Check all that apply
O Contingent
D unliquidated

O Disputed
Type of PRIORITY unsecured claim:

0 Domestic support obligations
WM Taxes and certain other debts you owe the government
1 claims for death or personal injury while you were intoxicated

DO other. Specify

Last 4 digits of account number 5063 $0.00

When was the debt incurred?

As of the date you file, the claim is: Check all that apply
oO Contingent
Oo Unliquidated

O Disputed
Type of PRIORITY unsecured claim:

C1 Domestic support obligations
a Taxes and certain other debts you owe the government
DO Claims for death or personal injury while you were intoxicated

D other. Specify

Last 4 digits of account number 5064 $0.00

When was the debt incurred?

As of the date you file, the claim is: Check all that apply
OD Contingent
D1 unliquidated

Q Disputed
Type of PRIORITY unsecured claim:

C2 Domestic support obligations
taxes and certain other debts you owe the government
C1 Claims for death or personal injury while you were intoxicated

OO other. Specify

Schedule E/F: Creditors Who Have Unsecured Claims

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$0.00

$0.00

$0.00

$0.00

$0.00

$0.00

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Debtor1 JongUk Byun _

2.9

Official Form 106 E/F

Los Angeles County Tax

Collector

Priority Creditor's Name
Bankruptcy Unit

Po Box 54110

Los Angeles, CA 90054-0110

Number Street City State Zip Code
Who incurred the debt? Check one.

B® pebtor 1 only

C1 Debtor 2 only

CJ Debtor 1 and Debtor 2 only

C1 Atleast one of the debtors and another

D1 Cheek if this claim is for a community debt
Is the claim subject to offset?

B no
O Yes

Los Angeles County Tax
Collector

Priority Creditor’s Name
Bankruptcy Unit

Po Box 54110
Los Angeles, CA 90054-0110 _

"Number Street City State Zip Code
Who incurred the debt? Check one.

B bebtor 1 only

O Debtor 2 only

C1) Debtor 1 and Debtor 2 only

0 At least one of the debtors and another

CO Cheek if this claim is for a community debt
Is the claim subject to offset?

i No
01 Yes

Los Angeles County Tax

Collector

Priority Creditor's Name

Bankruptcy Unit

Po Box 54110

Los Angeles, CA 90054-0110

Number Street City State Zip Code
Who incurred the debt? Check one.

B Debtor 1 only

D1 Debtor 2 only

O Debtor 1 and Debtor 2 only

0 atteast one of the debtors and another

Oi Check if this claim is for a community debt
Is the claim subject to offset?

B no

D Yes

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Case number (if known)

Last 4 digits of account number 5065 $0.00

When was the debt incurred?

As of the date you file, the claim is: Check all that apply
C Contingent
Oo Unliquidated

Oj Disputed
Type of PRIORITY unsecured claim:

DO Domestic support obligations
I Taxes and certain other debts you owe the government
OD claims for death or personal injury while you were intoxicated

D1 other. Specify

Last 4 digits of account number 5067 $0.00

When was the debt incurred?

As of the date you file, the claim is: Check all that apply
Oo Contingent
Oo Unliquidated

Oo Disputed
Type of PRIORITY unsecured claim:

C1 Domestic support obligations
BB taxes and certain other debts you owe the government
DO claims for death or personal injury while you were intoxicated

OO other. Specify

Last 4 digits of account number 5068 $0.00

When was the debt incurred?

As of the date you file, the claim is: Check all that apply
O Contingent
0 unliquidated

O Disputed
Type of PRIORITY unsecured claim:

0 Domestic support obligations
B taxes and certain other debts you owe the government
D1 Claims for death or personal injury while you were intoxicated

C1 other. Specify

Schedule E/F: Creditors Who Have Unsecured Claims

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$0.00

$0.00

$0.00

$0.00

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Debtor? Jong Uk Byun

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Case number (if known)

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2.4 . 7
1 U.S. Environmental Protection Last 4 digits of account number $0.00 $0.00 $0.00
Priority Creditor's Name
Region IX When was the debt incurred?
75 Hawthorne St.
San Francisco, CA 94105
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one oO Contingent
B Debtor 1 only C1 unliquidated
O Debtor 2 only O Disputed
DO Debtor 1 and Debtor 2 only Type of PRIORITY unsecured claim:
C1 At teast one of the debtors and another CL] Domestic support obligations
CO Check if this claim is for a community debt @ Taxes and certain other debts you owe the government
Is the claim subject to offset? 1 claims for death or personal injury while you were intoxicated
Bo CO other. Specify
0 Yes
2.1 oa
2 U.S. Securities and Exchange Last 4 digits of account number $0.00 $0.00 $0.00
Priority Creditor's Name
Commission When was the debt incurred?
Attn: Bankruptcy Counsel
444 South Flower Street, Suite
900
Los Angeles, CA 90071-9591
Number Street City State Zip Cade As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one. oO Contingent
Debtor 4 only C1 unliquidated
C1 Debtor 2 only 0 disputed
O Debtor 1 and Debtor 2 only Type of PRIORITY unsecured claim:
D1 Atleast one of the debtors and another C1 Domestic support obligations
C1 Check if this claim is for a community debt i taxes and certain other debts you owe the government
Is the claim subject to offset? OD Claims for death or personal injury while you were intoxicated
BNo 0 other. Specify
0 Yes
21 US Small Business
3 Administration Last 4 digits of account number $0.00 $0.00 $0.00
Priority Creditor's Name
Office of General Counsel When was the debt incurred?
312 N. Spring St., 5th Floor
Los Angeles,CA 90012,
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one. Oo Contingent
B® Debtor 1 only C1 untiquidated
1 Debtor 2 only O Disputed
D1 Debtor 4 and Debtor 2 only Type of PRIORITY unsecured claim:
D Atleast one of the debtors and another LI Domestic support obligations
(1 Check if this claim is for a community debt W@ Taxes and certain other debts you owe the government
Is the claim subject to offset? D claims for death or personal injury while you were intoxicated
Bo C1 other. Specify
0 ves
[GERM List All of Your NONPRIORITY Unsecured Claims
3. Do any creditors have nonpriority unsecured claims against you?
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 5 of 21
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Case number (if known)

Debtor 1 Jong Uk Byun 2:23-bk-12747-VZ

C1 No. You have nothing to reportin this part. Submit this form to the court with your other schedules

B ves,

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured claims fill out the Continuation Page of

Part 2
Total claim
44 Adv. Fin./Grand Pacific Last 4 digits of account number 605H Unknown
Nonpriority Creditor's Name
Attn: President or Corp. Officer Opened 05/16 Last Active
5900 Pasteur Ct., Ste. 200 When was the debt incurred? 7/20/16
Carlsbad, CA 92008
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
@ Debtor 1 only DO Contingent
CD Debtor 2 only 0 unliquidated
O Debtor 4 and Debtor 2 only oO Disputed
C1 Atteast one of the debtors and another Type of NONPRIORITY unsecured claim:
U1 Check if this claim is for a community C1] Student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
BNno DO Debts to pension or profit-sharing plans, and other similar debts
O ves Wl other. Specify Time Shared Loan
42 Allen Park Last 4 digits of account number $0.00
Nonpriority Creditor's Name
440 S. Vermont Ave., Ste. 301 When was the debt incurred?
Los Angeles, CA 90010
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
B Debtor 4 only a Contingent
O Debtor 2 only I Unliquidated
O Debtor 1 and Debtor 2 only i Disputed
C1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
0 Check if this claim is for a community C1 student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
BNno O Debts to pension or profit-sharing plans, and other similar debts
0 Yes Wi other. Specify
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 6 of 21
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Debtor1 Jong Uk Byun

4.3

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Official Form 106 E/F

Amex

Nonpriority Creditor's Name

Attn: President or Corp. Officer
Po Box 981535

El Paso, TX 79998

Number Street City State Zip Code

Who incurred the debt? Check one

H@ pDebtor 1 only

CI Debtor 2 only

D1 Debtor 1 and Debtor 2 only

C1 At least one of the debtors and another

D1 Check if this claim is for a community
debt
Is the claim subject to offset?

& No
D1 Yes

Bank of America

Nonpriority Creditor's Name

Attn: President or Corp. Officer
4909 Savarese Circle

Tampa, FL 33634
Number Street City State Zip Code

Who incurred the debt? Check one.

BW pebtor 1 only

O Debtor 2 only

C1 Debtor 1 and Debtor 2 only

D1 Atleast one of the debtors and another

CO Check if this claim is fora community
debt
Is the claim subject to offset?

BI No
Yes

Bank of Hope

Nonpriority Creditor's Name

Frandzel Robins Bloom & Csato,
L.C

Attention: Hal D. Goldflam

1000 Wilshire Blvd., 19th Floor

Los Angeles, CA 90017
Number Street City State Zip Code

Who incurred the debt? Check one.

B pebtor 1 only

O Debtor 2 only

CO] Debtor 1 and Debtor 2 only

DC At least one of the debtors and another

C1 Cheek if this claim is for a community
debt
Is the claim subject to offset?

HNo

OJ yes

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Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

O Contingent
0 Unliquidated

O Disputed
Type of NONPRIORITY unsecured claim:

DZ student loans

O Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

CO Debts to pension or profit-sharing plans, and other similar debts

B other. Specify

1392

Last 4 digits of account number

Opened 07/07 Last Active
05/09

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

O Contingent
0 unliquidated

Oo Disputed
Type of NONPRIORITY unsecured claim:

C1 Student loans

oO Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

O Debts to pension or profit-sharing plans, and other similar debts

Bi other. Specify

1067

Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

oO Contingent

C1 Unliquidated

CT] Disputed

Type of NONPRIORITY unsecured claim:
OD student loans

oO Obligations arising out of a separation agreement or divorce that you did not
report as priority claims
O Debts to pension or profit-sharing plans, and other similar debts

2445 S. Alameda St. Los Angeles, CA 90058

Los Angeles County

Value is an estimate which may be refined
BH other. Specify through further valuation.

Schedule E/F: Creditors Who Have Unsecured Claims

$0.00

$0.00

$0.00

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Debtor 1 Jong Uk Byun

47

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Official Form 106 E/F

BMW

Nonpriority Creditor's Name

Bank of North America

Attn: President or Corp. Officer
Po Box 3608

Dublin, OH 43016
Number Street City State Zip Code

Who incurred the debt? Check one.

B Debtor 1 only

0 Debtor 2 only

C1 Debtor 1 and Debtor 2 only

D1 Atleast one of the debtors and another

C1 Check if this claim is for a community
debt

Is the claim subject to offset?
M no
0 Yes

Bok Sook Byun

Nonpriority Creditor's Name

C/o Steven Polard

1880 Century Park East, Ste. 404

Los Angeles, CA 90067
Number Street City State Zip Code

Who incurred the debt? Check one.

BI Debtor 1 only

O Debtor 2 only

UO Debtor 1 and Debtor 2 only

D Atleast one of the debtors and another

C1 Check if this claim is for a community
debt
ts the claim subject to offset?

MI No
O yes

Capital One

Nonpriority Creditor's Name

Attn: President or Corp. Officer
Po Box 30285

Salt Lake City, UT 84130

Number Street City State Zip Code

Who incurred the debt? Check one.

H pebtor 1 only

C1 Debtor 2 only

CZ Debtor 1 and Debtor 2 only

C1 Atleast one of the debtors and another

CO Check if this claim is fora community
debt
Is the claim subject to offset?

Bi No
C1 yes

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0955

Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

Oo Contingent
O Unliquidated

O Disputed
Type of NONPRIORITY unsecured claim:

CO Student loans

O Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

O Debts to pension or profit-sharing plans, and other similar debts

BF other. Specify

Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

a Contingent

WB Unliquidated

a Disputed

Type of NONPRIORITY unsecured claim:
0 Student loans

O Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

D1 Debts to pension or profit-sharing plans, and other similar debts

other. Specify

9017

Last 4 digits of account number

Opened 09/15 Last Active
06/17

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

O Contingent
D0 unliquidated

O Disputed
Type of NONPRIORITY unsecured claim:

D) Student loans

O Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

D1 Debts to pension or profit-sharing plans, and other similar debts

Hi other. Specify Credit Card

Schedule E/F: Creditors Who Have Unsecured Claims

$0.00

$0.00

$0.00

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Debtor 1 Jong Uk Byun

4.9

Official Form 106 E/F

Capital One

Nonpriority Creditor's Name

Attn: President or Corp. Officer
Po Box 30285

Salt Lake City, UT 84130
Number Street City State Zip Code

Who incurred the debt? Check one.

IB pebtor 1 only

CO Debtor 2 only

CO] Debtor 1 and Debtor 2 only

01 At least one of the debtors and another

Cl Check if this claim is for a community
debt
Is the claim subject to offset?

a No
0 Yes

Capital One

Nonpriority Creditor's Name

Attn: President or Corp. Officer
Po Box 30285

Salt Lake City, UT 84130
Number Street City State Zip Code

Who incurred the debt? Check one.

Bi debtor 1 only

DO Debtor 2 only

D Debtor 1 and Debtor 2 only

D Atteast one of the debtors and another

C1 Check if this claim is for a community
debt
Is the claim subject to offset?

x No
O ves

Cemex Construction Materials
Nonpriority Creditor's Name

Attn: President or Corp. Officer
1430 E. Santa Clara St.

Santa Paula, CA 93060
Number Street City State Zip Code

Who incurred the debt? Check one.

BB debtor 1 only

D1 Debtor 2 only

D1 Debtor 1 and Debtor 2 only

0 atleast one of the debtors and another

[J Check if this claim is for a community
debt
Is the claim subject to offset?

ii No
0 Yes

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7926

Last 4 digits of account number

Opened 09/15 Last Active
11/27/17

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

O Contingent
D unliquidated

O Disputed
Type of NONPRIORITY unsecured claim:

D Student loans

oO Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

0 Debts to pension or profit-sharing plans, and other similar debts

I other. Specify Charge Account

1044

Last 4 digits of account number

Opened 05/15 Last Active
04/17

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

O Contingent
DO unliquidated

O Disputed
Type of NONPRIORITY unsecured claim:

D student loans

oO Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

DO Debts to pension or profit-sharing plans, and other similar debts

W other. Specity Credit Card

Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

O Contingent
DO Unliquidated

O Disputed
Type of NONPRIORITY unsecured claim:

CD Student loans

O Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

LD Debts to pension or profit-sharing plans, and other similar debts

a Other. Specify

Schedule E/F: Creditors Who Have Unsecured Claims

$0.00

$0.00

$0.00

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Debtor 1 Jong Uk Byun Case number (if known) 2:23-bk-12747-VZ
4.1 .
2 Coleman & Horowitt, LLP Last 4 digits of account number $0.00
Nonpriority Creditor's Name
1880 Century Park East, Suite 404 When was the debt incurred?
Los Angeles, CA 90067
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
H pebtor 1 only O Contingent
O Debtor 2 only oO Unliquidated
C1 Debtor 1 and Debtor 2 only DO Disputed

Type of NONPRIORITY unsecured claim:
CO Student loans

C1 At least one of the debtors and another

O Check if this claim is for a. community

debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
a No D Debts to pension or profit-sharing plans, and other similar debts
ther. Speci
C1 ves MF other. Speci
44 5
3 Daniel Park Last 4 digits of account number $0.00
Nonpriority Creditor's Name
3435 Wilshire Blvd., Suite 2700 When was the debt incurred?
Los Angeles, CA 90010
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Bi Debtor 1 only oO Contingent
CO Debtor 2 only O Unliquidated
C1 Debtor 1 and Debtor 2 only O Disputed
0 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is for a community C1 Student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
BI No D1 Debts to pension or profit-sharing plans, and other similar debts
O ves HH other. Specify
44 .
i Deutsche Bank National Trust Last 4 digits of account number 3895 $0.00
Nonpriority Creditor's Name
Attn: President or Corp. Officer When was the debt incurred?

Po Box 24605

West Palm Beach, FL 33416
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply

Who incurred the debt? Check one.

BB Debtor 1 only oO Contingent
C1 Debtor 2 only O Unliquidated
CJ Debtor 1 and Debtor 2 only DO Disputed

Type of NONPRIORITY unsecured claim:
DO student loans

C1 At least one of the debtors and another

C Check if this claim is for a community

debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
no O Debts to pension or profit-sharing plans, and other similar debts

Foreclosed property
O ves Ml other. Specify 1770 E 22nd St. LA 90058

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Case 2:23-bk-12747-VZ

Debtor1 Jong Uk Byun

DLI Assets Bravo, LLC

Nonpriority Creditor's Name

C/o Parker, Simon & Kokolis
110 N. Washington St., Suite 500

Rockville, MD 20850
Number Street City State Zip Code

Who incurred the debt? Check one.

B pebtor 1 only

D1 Debtor 2 only

C1 Debtor 4 and Debtor 2 only

C1 At least one of the debtors and another

D1 Check if this claim is for a community
debt
Is the claim subject to offset?

a No
CO Yes

DTSC- Site Clean Up Program
Nonpriority Creditor's Name

Attn: President or Corp. Officer
Po Box 806

Sacramento, CA 95812
Number Street City State Zip Code

Who incurred the debt? Check one

Bi debtor 1 only

O1 Debtor 2 only

O1 Debtor 1 and Debtor 2 only

D1 At least one of the debtors and another

C1 Check if this claim is for a community
debt

Is the claim subject to offset?

a No
CO Yes

Elsner Jaffe

Nonpriority Creditors Name

9601 Wilshire Blvd., 7th Floor
Beverly Hills, CA 90210

Number Street City State Zip Code
Who incurred the debt? Check one

Debtor 1 only

D1 Debtor 2 only

CD Debtor 4 and Debtor 2 only

D1 Atleast one of the debtors and another

C1 Check if this claim is for a community
debt
Is the claim subject to offset?

a No
O Yes

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Last 4 digits of account number 6185

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

Oo Contingent
O Unliquidated

O Disputed
Type of NONPRIORITY unsecured claim:

C1 Student loans

QO Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

0 Debts to pension or profit-sharing plans, and other similar debts

WH other. Specify

Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

O Contingent
DO unliquidated

O Disputed
Type of NONPRIORITY unsecured claim:

0) Student loans

O Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

C1 Debts to pension or profit-sharing plans, and other similar debts

@ other. Specify

Last 4 digits of account number
When was the debt incurred?

As of the date you file, the claim is: Check all that apply

O Contingent
0 unliquidated

DO) Disputed
Type of NONPRIORITY unsecured claim:

DO student loans

O Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

O Debts to pension or profit-sharing plans, and other similar debts

Bi other. Specify

Schedule E/F: Creditors Who Have Unsecured Claims

$0.00

$0.00

$0.00

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Debtor 1 Jong Uk Byun

Official Form 106 E/F

Environmental Protection Agency

“Nonpriority Creditor's Name

1200 Pennsylvania Ave., NW

Washington, DC 20460
Number Street City State Zip Cade

Who incurred the debt? Check one.

Wi bebtor 1 only

D1 Debtor 2 only

DO Debtor 1 and Debtor 2 only

CO Atleast one of the debtors and another

CO Check if this claim is for a community
debt
Is the claim subject to offset?

a No
D1 Yes

First Premier Bank

Nonpriority Creditor's Name

Attn: President or Corp. Officer
Po Box 5524

Sioux Falls, SD 57117
Number Street City State Zip Code

Who incurred the debt? Check one.

Ml Debtor 4 only

O Debtor 2 only

DO Debtor 1 and Debtor 2 only

0 Atleast one of the debtors and another

0 check if this claim is for a community
debt
Is the claim subject to offset?

Bno
O Yes

First Progress

Nonpriority Creditor's Name

Attn: President or Corp. Officer
Po Box 9053

Johnson City, TN 37615
Number Street City State Zip Code

Who incurred the debt? Check one.

@ Debtor 1 only

O Debtor 2 only

OO Debtor 1 and Debtor 2 only

C1 At least one of the debtors and another

O Check if this claim is for a community
debt
Is the claim subject to offset?

HE No
D Yes

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Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

O Contingent
D Unliquidated

O Disputed
Type of NONPRIORITY unsecured claim:

CO student toans

O Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

OO Debts to pension or profit-sharing plans, and other similar debts

@ other. specify

5207

Last 4 digits of account number

Opened 09/17 Last Active

When was the debt incurred? 8/13/18

As of the date you file, the claim is: Check all that apply

O Contingent
O Unliquidated

Oo Disputed
Type of NONPRIORITY unsecured claim:

D1 Student loans

oO Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

0 Debts to pension or profit-sharing plans, and other similar debts

W other. Specify Credit Card

6301

Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

O Contingent
DO unliquidated

oO Disputed
Type of NONPRIORITY unsecured claim:

OD Student loans

Oo Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

C1 Debts to pension or profit-sharing plans, and other similar debts

Bi other. Specify

Schedule E/F: Creditors Who Have Unsecured Claims

$0.00

$0.00

$0.00

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Debtor 1 Jong Uk Byun

Official Form 106 E/F

First Savings Bank/Blaze
Nonpriority Creditors Name

Attn: President or Corp. Officer
Po Box 5096

Sioux Falls, SD 57117
Number Street City State Zip Code

Who incurred the debt? Check one,

i Debtor 1 only

O Debtor 2 only

C1 Debtor 1 and Debtor 2 onty

CO Atleast one of the debtors and another

C1] Check if this claim is for a community
debt
Is the claim subject to offset?

fa No
O Yes

Genesis FS Card Services
Nonpriority Creditor's Name

Attn: President or Corp. Officer
Po Box 4477

Beaverton, OR 97076
Number Street City State Zip Code

Who incurred the debt? Check one.

Wi Debtor 1 only

OD Debtor 2 only

O Debtor 4 and Debtor 2 only

0 Atleast one of the debtors and another

DO Check if this claim is for a community
debt
Is the claim subject to offset?

a No
C] Yes

Hose-Man

Nonpriority Creditor's Name

Attn: President or Corp. Officer
5397 N. Irwindale Ave.

Banks, OR 97106
Number Street City State Zip Code

Who incurred the debt? Check one.

Hl Debtor 1 only

O Debtor 2 only

D1 Debtor 1 and Debtor 2 only

D1 At least one of the debtors and another

0) Check if this claim is for a community
debt
Is the claim subject to offset?

a No
[1 Yes

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0810

Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

O Contingent
DO unliquidated

oO Disputed
Type of NONPRIORITY unsecured claim:

CO Student loans

Oo Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

CO Debts to pension or profit-sharing plans, and other similar debts

B other. Specify

6465

Last 4 digits of account number

Opened 03/17 Last Active
07/18

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

O Contingent
O unliquidated

O Disputed
Type of NONPRIORITY unsecured claim:

CO Student toans

O Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

0 Debts to pension or profit-sharing plans, and other similar debts

I other. Specity Credit Card

Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

O Contingent
DO) unliquidated

O Disputed
Type of NONPRIORITY unsecured claim:

C7 Student loans

O Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

0 Debts to pension or profit-sharing plans, and other similar debts

i other. Specify

Schedule E/F: Creditors Who Have Unsecured Claims

$0.00

$0.00

$0.00

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Debtor 1 Jong Uk Byun

Official Form 106 E/F

Hyundai Steel Company
Nonpriority Creditor's Name

C/o O'Melveny & Myers LLP
400 S. Hope Street, 18th FI.
Los Angeles, CA 90071
Number Street City State Zip Code

Who incurred the debt? Check one.

I Debtor 1 onty

C1 Debtor 2 only

O1 Debtor 1 and Debtor 2 only

C1 at least one of the debtors and another

C1 Check if this claim is for a community
debt
Is the claim subject to offset?

BI No
0 Yes

Jinah Oh
Nonpriority Creditor's Name
21856 S. Vermont Ave., #6

Torrance, CA 90502
Number Street City State Zip Code

Who incurred the debt? Check one.

BI Debtor 1 only

CO Debtor 2 only

DO Debtor 1 and Debtor 2 only

C1 At least one of the debtors and another

CO Check if this claim is for a community
debt
Is the claim subject to offset?

Bno
0 Yes

Joan Park

Nonpriority Creditor's Name

C/o Daniel Park

3435 Wislhire Blvd., Suite 2700
Los Angeles, CA 90010

Number Street City State Zip Code

Who incurred the debt? Check one.
debtor 1 only

O Debtor 2 only

CO Debtor 1 and Debtor 2 only

CZ Atleast one of the debtors and another

C1 Check if this claim is for a community
debt
Is the claim subject to offset?

Hino
DO Yes

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Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

EB Contingent

unliquidated

a Disputed

Type of NONPRIORITY unsecured claim:
OD student loans

Oo Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

O Debts to pension or profit-sharing plans, and other similar debts

I other. Specify Already paid.

Last 4 digits of account number
When was the debt incurred?

As of the date you file, the claim is: Check all that apply

O Contingent
DO unliquidated

O Disputed
Type of NONPRIORITY unsecured claim:

DO student loans

O Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

0 Debts to pension or profit-sharing plans, and other similar debts

B other. Specify

Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

oO Contingent
0 unliquidated

O Disputed
Type of NONPRIORITY unsecured claim:

DO Student loans

O Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

01 Debts to pension or profit-sharing plans, and other similar debts

BF other. Specify

Schedule E/F: Creditors Who Have Unsecured Claims

$0.00

$0.00

$0.00

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Debtor 1 Jong Uk Byun

Official Form 106 E/F

Jourdian DeWard

Nonpriority Creditor's Name

C/o Daniel Park

3435 Wislhire Blvd., Suite 2700

Los Angeles, CA 90010
Number Street City State Zip Code

Who incurred the debt? Check one.

MF Debtor 1 only

D1 Debtor 2 only

OD Debtor 4 and Debtor 2 only

(1 At least one of the debtors and another

C1 Check if this claim is for a community
debt
Is the claim subject to offset?

Hi Nno
OO Yes

Kap Chan Chong, Esq.

Nonpriority Creditor's Name
3580 Wilshire Blvd., Suite 900

Los Angeles, CA 90010
Number Street City State Zip Code

Who incurred the debt? Check one.

Hl Debtor 1 only

C1 Debtor 2 only

C1 Debtor 1 and Debtor 2 only

D1 At least one of the debtors and another

(J Check if this claim is for a community
debt
Is the claim subject to offset?

a No
O ves

Marco Rivera

Nonpriority Creditor's Name

C/o Law Offices of David J Chang
5300 Beach Blvd., Ste. 110-521

Buena Park, CA 90621
Number Street City State Zip Code

Who incurred the debt? Check one.

B® pebtor 1 only

C1 Debtor 2 only

( Debtor 1 and Debtor 2 only

D1 At least one of the debtors and another

1D) Check if this claim is for a community
debt
Is the claim subject to offset?

fa No
Yes

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Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

oO Contingent
Oo Unliquidated

O Disputed
Type of NONPRIORITY unsecured claim:

CO student loans

O Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

O Debts to pension or profit-sharing plans, and other similar debts

BF other. Specify

Last 4 digits of account number

When was the debt incurred?
As of the date you file, the claim is: Check all that apply

a Contingent

a Unliquidated

i Disputed

Type of NONPRIORITY unsecured claim:
CO student loans

O Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

D Debts to pension or profit-sharing plans, and other similar debts

Mf other. Specify

Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

Oo Contingent
0 unliquidated

oO Disputed
Type of NONPRIORITY unsecured claim:

OD Student loans

O Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

D1 Debts to pension or profit-sharing plans, and other similar debts

B other. Specify

Schedule E/F: Creditors Who Have Unsecured Claims

$0.00

$0.00

$0.00

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Debtor 1 Jong Uk Byun

Official Form 106 E/F

Municipal Services Bureau
Nonpriority Creditor's Name

Attn: President or Corp. Officer
8325 Tuscany Way, Bldg. 4

Austin, TX 78754
Number Street City State Zip Code

Who incurred the debt? Check one.

Ml Debtor 1 only

CO Debtor 2 only

D1 Debtor 1 and Debtor 2 only

DO) atleast one of the debtors and another

C1 Check if this claim is for a community
debt
Is the claim subject to offset?

a No
CI Yes

Packo Investments, Inc.
Nonpriority Creditor's Name

Attn: President or Corp. Officer
440 S. Vermont Ave., Suite 301

Los Angeles, CA 90020
Number Street City State Zip Code

Who incurred the debt? Check one.

BH bebtor 1 only

O1 Debtor 2 only

D1 Debtor 1 and Debtor 2 only

D1 Atleast one of the debtors and another

CI Check if this claim is for a community
debt

Is the claim subject to offset?

Hino
C1 Yes

Par Funding

Nonpriarity Creditor's Name

Attn: President or Corp. Officer
141 N. 2nd St.

Philadelphia, PA 19106
Number Street City State Zip Code

Who incurred the debt? Check one.

BB debtor 4 only

D1 Debtor 2 only

(J Debtor 1 and Debtor 2 only

DZ Atleast one of the debtors and another

CI Check if this claim is fora community
debt
Is the claim subject to offset?

a No
C1 Yes

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Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

Oo Contingent
O Unliquidated

O Disputed
Type of NONPRIORITY unsecured claim:

OD student loans

O Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

CO Debts to pension or profit-sharing plans, and other similar debts

IB other. Specify

Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

Hilt Contingent

B Unliquidated

a Disputed

Type of NONPRIORITY unsecured claim:
C1 Student loans

O Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

O1 Debts to pension or profit-sharing plans, and other similar debts

W other. Specify

Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

Oo Contingent
0 Unliquidated

O Disputed
Type of NONPRIORITY unsecured claim:

CO Student toans

O Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

O Debits to pension or profit-sharing plans, and other similar debts

@ other. Specify

Schedule E/F: Creditors Who Have Unsecured Claims

$0.00

$0.00

$0.00

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Debtor1 Jong Uk Byun

Official Form 106 E/F

Prima Financial

Nonpriority Creditor's Name

Attn: President or Corp. Officer
680 Langsdorf Dr., Ste. 207

Fullerton, CA 92831
Number Street City State Zip Code

Who incurred the debt? Check one.

MB Debtor 4 only

OD Debtor 2 only

CD Debtor 1 and Debtor 2 only

CO Atleast one of the debtors and another

C1 Check if this claim is for a community
debt
Is the claim subject to offset?

il No
0 ves

Resnik Hayes Moradi LLP
Nonpriority Creditor's Name
17609 Ventura Blvd., Ste. 314

Encino, CA 91316
Number Street City State Zip Code

Who incurred the debt? Check one.

HB Debtor 1 only

O Debtor 2 only

CO Debtor 1 and Debtor 2 only

CO Atteast one of the debtors and another

D1 Check if this claim is for a community
debt
Is the claim subject to offset?

a No
ves

Sequoia Financial Services
Nonpriority Creditor's Name

Attn: President or Corp. Officer
28632 Roadside Dr., Ste.110
Agoura Hills, CA 91301

Number Street City State Zip Code

Who incurred the debt? Check one.

I Debtor 1 only

0 Debtor 2 only

C1 Debtor 1 and Debtor 2 only

D1 Atteast one of the debtors and another

D1 Check if this claim is for a community
debt
Is the claim subject to offset?

a No
0 Yes

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Last 4 digits of account number $0.00
When was the debt incurred?
As of the date you file, the claim is: Check all that apply
O Contingent
oO Unliquidated
OD Disputed
Type of NONPRIORITY unsecured claim:
C1 student loans
O Obligations arising out of a separation agreement or divorce that you did not
report as priority claims
O Debts to pension or profit-sharing plans, and other similar debts
BF other Specify
Last 4 digits of account number $74,859.50
When was the debt incurred?
As of the date you file, the claim is: Check all that apply
D0 Contingent
C0 unliquidated
Oo Disputed
Type of NONPRIORITY unsecured claim:
CO Student loans
oO Obligations arising out of a separation agreement or divorce that you did not
report as priority claims
D Debts to pension or profit-sharing plans, and other similar debts

ther. Speci
WF other. Speci

$0.00

Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

Oo Contingent
DO unliquidated

O Disputed
Type of NONPRIORITY unsecured claim:

CD student loans

Oo Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

CO Debts to pension or profit-sharing plans, and other similar debts

B other. Specify

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Debtor 1 Jong Uk Byun

Official Form 106 E/F

State Compensation Insurance
Fund

Nonpriority Creditor's Name

Attn: President or Corp. Officer
Po Box 8192

Pleasanton, CA 94588
Number Street City State Zip Code

Who incurred the debt? Check one

BB Debtor 1 only

DO Debtor 2 only

D1 Debtor 1 and Debtor 2 only

D1 At least one of the debtors and another

C1 Check if this claim is for a community
debt
Is the claim subject to offset?

Hino
O ves

Stephen M. Cook
Nonpriority Creditor's Name
7210 Jordan Ave.

Canoga Park, CA 91303
Number Street City State Zip Code

Who incurred the debt? Check one.

i pebtor 1 only

C1 Debtor 2 only

C1] Debtor 1 and Debtor 2 only

D1 At least one of the debtors and another

CO Check if this claim is for a community
debt
Is the claim subject to offset?

BI No
0 Yes

Synchrony Bank/Amazon
Nonpriority Creditor's Name

Attn: President or Corp. Officer
Po Box 965060

Orlando, FL 32896
Number Street City State Zip Code

Who incurred the debt? Check one.

B Debtor 1 only

CO Debtor 2 only

O Debtor 1 and Debtor 2 only

D1 At least one of the debtors and another

D Check if this claim is for a community
debt
Is the claim subject to offset?

MNno
0D Yes

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Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check alt that apply

O Contingent
D unliquidated

oO Disputed
Type of NONPRIORITY unsecured claim:

CZ Student loans

Oo Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

C1 Debts to pension or profit-sharing plans, and other similar debts

IB other. Specity

Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

0 Contingent
0 Unliquidated

O Disputed
Type of NONPRIORITY unsecured claim:

CO student loans

oO Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

O1 Debts to pension or profit-sharing plans, and other similar debts

I other. Specify

9116

Last 4 digits of account number

Opened 03/17 Last Active
08/18

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

Oo Contingent
D unliquidated

O Disputed
Type of NONPRIORITY unsecured claim:

DO Student loans

oO Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

O Debts to pension or profit-sharing plans, and other similar debts

Wl other. Specity Charge Account

Schedule E/F: Creditors Who Have Unsecured Claims

$0.00

$0.00

$21.00

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Debtor 1 Jong Uk Byun

Official Form 106 E/F

Synchrony Bank/Chevron
Nonpriority Creditor's Name

Attn: President or Corp. Officer
Po Box 965060

Orlando, FL 32896
Number Street City State Zip Code

Who incurred the debt? Check one.

MB Debtor 1 only

D1 Debtor 2 only

D1 Debtor 1 and Debtor 2 only

C1 At least one of the debtors and another

CO Check if this claim is for a community
debt
Is the claim subject to offset?

a No
0 Yes

The Bank of Missouri

Nonpriority Creditor's Name

Attn: President or Corp. Officer
Po Box 788

Kirkland, WA 98083
Number Street City State Zip Code

Who incurred the debt? Check one.

Bl Debtor 1 only

C1 Debtor 2 only

CO Debtor 4 and Debtor 2 only

CO Atleast one of the debtors and another

CI Check if this claim is for a community
debt
Is the claim subject to offset?

oO No
0 yYes

US Bank

Nonpriority Creditors Name

Attn: President or Corp. Officer
Po Box 5229

Cincinnati, OH 45201

Number Street City State Zip Code

Who incurred the debt? Check one.

I Debtor 1 only

OD Debtor 2 only

CX] Debtor 1 and Debtor 2 only

CZ Atleast one of the debtors and another

CO Check if this claim is for a community
debt
Is the claim subject to offset?

EI No
O Yes

Schedule E/F: Creditors Who Have Unsecured Claims

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Last 4 digits of account number 3356 $0.00

Opened 04/97 Last Active
When was the debt incurred? 04/15

As of the date you file, the claim is: Check all that apply

oO Contingent
D0 unliquidated

O Disputed
Type of NONPRIORITY unsecured claim:

DO) student loans

O Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

O Debts to pension or profit-sharing plans, and other similar debts

BB other. Specify

Last 4 digits of account number 6465 $0.00

When was the debt incurred?

As of the date you file, the claim is: Check ail that apply

Oo Contingent
O Unliquidated

O Disputed
Type of NONPRIORITY unsecured claim:

CO student loans

O Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

O Debts to pension or profit-sharing plans, and other similar debts

WB other. Specify

Last 4 digits of account number 8969 $0.00

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

O Contingent
0 Unliquidated

Oo Disputed
Type of NONPRIORITY unsecured claim:

CZ student loans

Oo Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

OD Debts to pension or profit-sharing plans, and other similar debts

Bl other. Specify

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Debtor 1 Jong Uk Byun

2 Wells Fargo Bank, N.A.

Nonpriority Creditors Name

Attn: President or Corp. Officer
1 Home Campus Mac X2303-01a

3rd Floor
Des Moines, IA 50328
Number Street City State Zip Code

Who incurred the debt? Check one.
i pebtor 1 only

CI Debtor 2 only

C1 Debtor 1 and Debtor 2 only

DO Atleast one of the debtors and another

C1 Check if this claim is for a community

debt
Is the claim subject to offset?
Hl No
U Yes
44
3 Zamucen & Curren, LLP

Nonpriority Creditor's Name

Attn: President or Corp. Officer
17848 Sky Park Cir., Suite C

Irvine, CA 92614
Number Street City State Zip Code

Who incurred the debt? Check one.
@ pebtor 1 only

C1 Debtor 2 only

OJ Debtor 1 and Debtor 2 only

(1 At least one of the debtors and another

O Check if this claim is for a community

debt
Is the claim subject to offset?

BI No
D Yes

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Last 4 digits of account number 6339

Opened 03/13 Last Active
When was the debt incurred? 05/15

As of the date you file, the claim is: Check all that apply

O Contingent
0 unliquidated

O Disputed
Type of NONPRIORITY unsecured claim:

OD student loans

O Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

DO Debts to pension or profit-sharing plans, and other similar debts

I other. Specify Credit Line Secured

Last 4 digits of account number

When was the debt incurred?

As of the date you file, the claim is: Check all that apply

O Contingent
D unliquidated

CQ disputed
Type of NONPRIORITY unsecured claim:

C1 Student loans

O Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

CO Debts to pension or profit-sharing plans, and other similar debts

BB other Specify

[GEICEHE List Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Name and Address

Bank of Hope

Attn: Andrew Park

3200 Wilshire Blbd., 14th Floor
Los Angeles, CA 90010

Name and Address

Synchrony Bank/Amazon

Attn: President or Corp. Officer
Po Box 71737

Philadelphia, PA 19176

Name and Address

United States Attorney’s Office
Federal Building, Room 7516
300 North Los Angeles Street

Official Form 106 E/F

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.5 of (Check one):

CD Part 4: Creditors with Priority Unsecured Claims
MM Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.38 of (Check one):

LC Part 1: Creditors with Priority Unsecured Claims
BB part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 2.5 of (Check one):

a Part 1: Creditors with Priority Unsecured Claims
U1 Part 2: Creditors with Nonpriority Unsecured Claims

Schedule E/F: Creditors Who Have Unsecured Claims

$0.00

$0.00

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Case 2:23-bk-12747-VZ

Debtor 1 Jong Uk Byun
Los Angeles, CA 90012

Name and Address

United States Department of Justice
Ben Franklin Station

Po Box 683

Washington, DC 20044

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Case number (if known) 2:23-bk-12747-VZ

Last 4 digits of account number

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 2.5 of (Check one): BB Part 1: Creditors with Priority Unsecured Claims
CI Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each

type of unsecured claim.

Total Claim
6a. Domestic support obligations 6a. $ 0.00
Total
clalms
from Part 1 6b. Taxes and certaln other debts you owe the government 6b. $ 0.00
6c. Claims for death or personal Injury while you were intoxicated 6c. $ 0.00
6d. Other. Add all other priority unsecured claims. Write that amount here. 6d. $ 0.00
6e. Total Priority. Add lines 6a through 6d. 6e. $ 0.00
Total Claim
6f. Student loans 6f. $ 0.00
Total
claims
from Part 2 6g. Obligations arising out of a separation agreement or divorce that 0.00
you did not report as priority claims 6g $ .
6h. Debts to pension or profit-sharing plans, and other similar debts 6h. $ 0.00
6i. Other. Add all other nonpriority unsecured claims. Write that amount 6i.
hens § 74,880.50
6j. Total Nonpriority. Add lines 6f through 6i. Gj. $ 74,880.50

Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims

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PUM Tim eM aieelatareh (ced am com Ce (Yar aims ell Laker: i214

Debtor 1 Jong Uk Byun

First Name Middle Name Last Name
Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: © CENTRAL DISTRICT OF CALIFORNIA

Case number 2:23-bk-12747-VZ
(if known) OO Check if this is an

amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?
C1 No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.

B Yes. Fill in ail of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts

and unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for
Name, Number, Street, City, Slate and ZIP Code
2.1 Central Metal, Inc. Commercial Lease
2201 S. Alameda St. Debtor As Lessor

Los Angeles, CA 90058

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases Page 1 of 1
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TMM EMME Com com (lal aan Zot lLmrer: t=

Debtor 1 Jong Uk Byun

First Name Middle Name Last Name
Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: CENTRAL DISTRICT OF CALIFORNIA

Case number 2:23-bk-12747-VZ

! (if known)

OO Check if this is an
amended filing

Official Form 106H
Schedule H: Your Codebtors 12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

1. Do you have any codebtors? (if you are filing a joint case, do not list either spouse as a codebtor.

ONo
Ml Ves

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

O1 No. Go to line 3.
@ Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

ONo
Yes,

In which community state or territory did you live? -NONE- . Fillin the name and current address of that person.

Name of your spouse, former spouse, or legal equivalent
Number, Street, City, State & Zip Code

3. In Column 7, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill

out Column 2.

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt

Name, Number, Street, City, State and ZIP Code Check all schedules that apply:
3.1. Central Metal, Inc. HM Schedule D, line 2.7

2201 S. Alameda St. O Schedule E/F, line

Los Angeles, CA 90058 O Schedule G

Creditors Adjustment Bureau, Inc.

3.2 Central Metal, Inc. H Schedule D, line 2.1
2201 S. Alameda St. O] Schedule E/F. line
Los Angeles, CA 90058 Oo Schedule G um

BAE Family Trust Dated Aug. 6, 2015

Official Form 106H Schedule H: Your Codebtors Page 1 of 3
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Debtor 1 Jong Uk Byun Case number (ifknown) 2:23-bk-12747-VZ

Additional Page to List More Codebtors

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt

Check all schedules that apply:

3.3. Central Metal, Inc. Ml Schedule D, line 2.2
2201 S. Alameda St. :
Los Angeles, CA 90058 5 Ses af line _
Bejac Corp.
3.4 Central Metal, Inc. M@ Schedule D, line 2.4
2201 S. Alameda St. :
Los Angeles, CA 90058 4 acon af ne
Complete Business Solutions Group
3.5 Central Metal, Inc. M@ Schedule D, line 2.5
2201 S. Alameda St. iy
E
Los Angeles, CA 90058 4 eopesle ar line _
County of San Bernardino
3.6 Central Metal, Inc. M@ Schedule D, line 2.6
2201 S. Alameda St. .
O le E/F, |
Los Angeles, CA 90058 Oo a a no's
CP Construction Co., Inc.
3.7 Central Metal, Inc. M@ Schedule D, line 2.8
2201 S. Alameda St. ;
Los Angeles, CA 90058 5 Seas a line __-
Employment Development Department
3.8 Central Metal, Inc. M@ Schedule D, line 2.9
2201 S. Alameda St. ing
Los Angeles, CA 90058 4 Segue sm ine
Franchise Tax Board
3.9 Central Metal, Inc. @ Schedule D, line 2.10
2201 S. Alameda St. :
E
Los Angeles, CA 90058 7 Secu an line _
Los Angeles County Tax Collector
3.10 Central Metal, Inc. MH Schedule D, line 2.11

2201 S. Alameda St.
Los Angeles, CA 90058

Official Form 106H

Schedule H: Your Codebtors

O Schedule E/F, line
OO Schedule G
Mohamed Sanfaz

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Debtor1 Jong Uk Byun Case number (ifknown) 2:23-bk-12747-VZ

=a Additional Page to List More Codebtors
Column 1: Your codebtor Column 2: The creditor to whom you owe the debt
Check all schedules that apply:

3.11. Central Metal, Inc. i Schedule D, line 2.12
2201 S. Alameda St. C Schedule E/F, line

Los Angeles, CA 90058 Cl Schedule G
Prime Metals USA., Inc.

Schedule H: Your Codebtors Page 3 of 3

Official Form 106H
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CHEM ATEMIALCODC UNE LUCA ML COM Le. s ALUN ah ell mrerctsyee

Debtor 1 Jong Uk Byun

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the: CENTRAL DISTRICT OF CALIFORNIA

Case number 2:23-bk-12747-VZ Check if this is:
(If known) [] An amended filing

O A supplement showing postpetition chapter
13 income as of the following date:

Official Form 106I MMTDD/YYYY
Schedule I: Your Income 12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

GERSe Describe Employment

1. Fill in your employment

information. Debtor 1 Debtor 2 or non-filing spouse
if you have more than one job, a t stat C1 Employed C1 Employed

attach a separate page with mployment status

information about additional Hi Not employed C1 Not employed

employers.

Occupation Retired

Include part-time, seasonal, or

self-employed work. Employer's name

Occupation may include student Employer's address
or homemaker, if it applies.

How long employed there?

GERESEEEE Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or
non-filing spouse

List monthly gross wages, salary, and commissions (before all payroll N/A
2. deductions). If not paid monthly, calculate what the monthly wage would be. 2 § 0.00 $
3. Estimate and list monthly overtime pay. 3. +$ 0.00 = +$ N/A
4. Calculate gross Income. Add line 2 + line 3. 4. °$ 0.00 $ N/A

Official Form 106] Schedule I: Your Income page 1
Debtor 1

10.

11.

12.

13,

Official Form 1061

Case 2:23-bk-12747-VZ

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Jong Uk Byun

Copy line 4 here

List all payroll deductions:

5a.

5b.
5c.
5d.
5e.
5f.

5g.
5h.

Tax, Medicare, and Social Security deductions
Mandatory contributions for retirement plans
Voluntary contributions for retirement plans
Required repayments of retirement fund loans
Insurance

Domestic support obligations

Union dues

Other deductions. Specify:

Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.

Calculate total monthly take-home pay. Subtract line 6 from line 4.

List all other income regularly received:

8a.

8b.
8c.

8d.
8e.
8f.

8g.
8h.

Net income from rental property and from operating a business,
profession, or farm

Attach a statement for each property and business showing gross

receipts, ordinary and necessary business expenses, and the total

monthly net income.

Interest and dividends

Family support payments that you, a non-filing spouse, or a dependent
regularly receive

Include alimony, spousal support, child support, maintenance, divorce
settlement, and property settlement.

Unemployment compensation

Social Security

Other government assistance that you regularly receive

Include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.

Specify:

Pension or retirement income

Other monthly income. Specify:

Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.

Calculate monthly income. Add line 7 + line 9.
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.

State all other regular contributions to the expenses that you list in Schedule J.

8a.
8b.

10.'$

Case number (if known)

For Debtor 1

$ 0.00

0.00
0.00
0.00
0.00
0.00
0.00
0.00
0.00

0.00
0.00

FP MPR eETrweewnes

$ 76,870.00
$ 0.00

0.00
0.00
1,560.00

FFA

$ 0.00
$ 0.00
$ 0.00

$ 78,430.00

78,430.00 + $

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For Debtor 2 or
non-filing spouse
$ N/A

N/A
N/A
N/A
N/A
N/A
N/A
N/A
N/A

N/A
N/A

PA HHH ee HTH HAMA oe

$ N/A
$ N/A

$ N/A
N/A
$ N/A

A

$ N/A
$ N/A
$ N/A

$ NIA

N/A|='$

Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
other friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

Specify:

11.0 +$

Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.

Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it

applies

Do you expect an increase or decrease within the year after you file this form?

Oo
ge

No.

12.| $

78,430.00

0.00

78,430.00

Combined
monthly income

Yes. Explain: | The Debtor anticipates receiving additional compensation from Central Metal, Inc. And/or having
Central Metal, Inc., pay for claims for which it was the true primary obligor.

Schedule I: Your Income

page 2
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MAMMAL EMA LCeLmetts | CeyaM cone (Vala acl" mereiee

Debtor 1 Jong Uk Byun Check if this is:
Ol Anamended filing
Debtor 2 _ O Asupplement showing postpetition chapter

(Spouse, if filing) 13 expenses as of the following date:

United States Bankruptcy Court for the: CENTRAL DISTRICT OF CALIFORNIA MM/DD/YYYY

Casenumber 2:23-bk-12747-VZ

| (If known)

Official Form 106J
Schedule J: Your Expenses 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case

number (if known). Answer every question.
Describe Your Household
1. Is this a joint case?

Hf No. Go to line 2.
0 Yes. Does Debtor 2 live in a separate household?

CO No
OJ Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents? (No

Do not list Debtor 1 and ll Yes Fill out this information for Dependent'’s relationship to Dependent's Does dependent
Debtor 2. "each dependent.............. Debtor 1 or Debtor 2 age live with you?
Do not state the O1 No
dependents names. Son 6 years li Ves
O No
Daughter 14 years B ves
ONo
Son 17 years i Ves
O No
O Yes

3. Do your expenses include BINo
expenses of people other than oO
yourself and your dependents? Yes

Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the

applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income

(Official Form 1061.) Your expenses

r Se) MUS ei Ws Desa tot Sees ria)
4, The rental or home ownership expenses for your residence. Include first mortgage
payments and any rent for the ground or lot. 4. $ 4,000.00
If not included in line 4:
4a. Real estate taxes 4a. $ 0.00
4b. Property, homeowner's, or renter's insurance 4b. $ 0.00
4c. Home maintenance, repair, and upkeep expenses 4c. §$ 0.00
4d. Homeowner's association or condominium dues 4d. $ 0.00
5. Additional mortgage payments for your residence, such as home equity loans 5. $ 0.00

Official Form 106J Schedule J: Your Expenses page 1
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Debtor1 Jong Uk Byun

6.

16.

17.

18.

19.

20.

21.
22.

29:

24.

Utilities:
6a. Electricity, heat, natural gas 6a. $
6b. Water, sewer, garbage collection 6b. $
6c. Telephone, cell phone, Internet, satellite, and cable services 6c. $
6d. Other. Specify: 6d. $
Food and housekeeping supplies 7. $
Childcare and children’s education costs 8. §$
Clothing, laundry, and dry cleaning 9. $
Personal care products and services 10. $
Medical and dental expenses 11. $
Transportation. Include gas, maintenance, bus or train fare.
Do not include car payments. 12. $
Entertainment, clubs, recreation, newspapers, magazines, and books 13. $
Charitable contributions and religious donations 14. $
Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. Life insurance 15a. $
15b. Health insurance 15b. $
15c. Vehicle insurance 15c. $
15d. Other insurance. Specify: 15d. $
Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: 16. $
Installment or lease payments:
17a. Car payments for Vehicle 14 17a. $
17b. Car payments for Vehicle 2 17b. $
17c. Other. Specify: 17c. $
17d. Other. Specify: 17d. $
Your payments of alimony, maintenance, and support that you did not report as
deducted from your pay on line 5, Schedule I, Your Income (Official Form 106l). 18. $
Other payments you make to support others who do not live with you. $
Specify: 19.
Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
20a. Mortgages on other property 20a. $
20b. Real estate taxes 20b. $
20c. Property, homeowner's, or renter’s insurance 20c. $
20d. Maintenance, repair, and upkeep expenses 20d. $
20e. Homeowner's association or condominium dues 20e. §
Other: Specify: 21. +$
Calculate your monthly expenses
22a. Add lines 4 through 21. $
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 $
22c. Add line 22a and 22b. The result is your monthly expenses. $
Calculate your monthly net income.
23a. Copy line 12 (your combined monthly income) from Schedule I. 23a. $
23b. Copy your monthly expenses from line 22c above. 23b. -$
23c. Subtract your monthly expenses from your monthly income. 246. $
Cc.

The result is your monthly net income.

Do you expect an increase or decrease in your expenses within the year after you file this form?
For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a

modification to the terms of your mortgage?

1 No.

Case number (if known)

2:23-bk-12747-VZ

830.00
650.00
100.00
0.00
1,050.00
0.00
70.00
60.00
50.00

400.00

0.00
0.00

0.00
400.00
150.00

0.00

0.00

7,760.00

7,760.00

78,430.00
7,760.00

70,670.00

Bl Yes. : Explain here: The debtor reserves the right to adjust his expenses to have a more standard level of living

when possible.

Official Form 106J Schedule J: Your Expenses

page 2
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Debtor 1 Jong Uk Byun

First Name Middle Name Lasi Name

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: © CENTRAL DISTRICT OF CALIFORNIA

Casenumber 2:23-bk-12747-VZ
(if known) O] Check if this is an
amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules 412115

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20

years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Be Sign Below

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

m No
Ol Yes. Name of person Attach Bankruptcy Petition Preparer's Notice,
~ "Declaration, and Signature (Official Form 119)

Under penalty of perjury, | declare that | have ead the summary and schedules filed with this declaration and

that they are true and correct.
Ly Seat *
Signature of Debtor 2

Date

X /s/ Jong Uk Byun
Jong Uk Byun
Signature of Debtor

Date May 18, 2023

Official Form 106Dec Declaration About an Individual Debtor's Schedules
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ATM Tam eM Uncle rirelecolim como Cia anol! lat ere cio

Debtor 1 Jong Uk Byun

First Name Middle Name Last Name
Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: © CENTRAL DISTRICT OF CALIFORNIA

Case number 2:23-bk-12747-VZ
(if known) OO Check if this is an

amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 04/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case

number (if known). Answer every question.

GERRY Give Details About Your Marital Status and Where You Lived Before
1... What is your current marital status?

1] Married
Hi Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

O No

Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

Debtor 1: Dates Debtor 1 Debtor 2 Prior Address: Dates Debtor 2
lived there lived there

8201 Santa Fe Ave. From-To: 0 same as Debtor 1 O same as Debtor 1

Huntington Park, CA 90255 2011 to 12/2021 From-To:

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

O No
M@ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Explain the Sources of Your Income

4, Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

BH No
0 Yes. Fill in the details.
Debtor 1 Debtor 2
Sources of income Gross income Sources of income Gross income
Check all that apply. (before deductions and Check all that apply. (before deductions
exclusions) and exclusions)

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 1
Debtor 14

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Jong Uk Byun Case number (ifknown) 2:23-bk-12747-VZ

Did you receive any other income during this year or the two previous calendar years?

Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

O No
@ Yes. Fill in the details.

Debtor 1
Sources of income
Describe below.

Debtor 2
Sources of income
Describe below.

Gross income
(before deductions
and exclusions)

Gross income from
each source
(before deductions and

exclusions)

From January 1 of current year until Social Security $6,224.00
the date you filed for bankruptcy: Benefits

Rental Income $307,480.00
For last calendar year: Social Security $18,678.00
(January 1 to December 31, 2022 ) Benefits

Rental Income $846,890.00
For the calendar year before that: Social Security $18,678.00
(January 1 to December 31, 2021 ) Benefits

Rental Income $846,890.00

GERRI List Certain Payments You Made Before You Filed for Bankruptcy

6.

Official Form 107

Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

HM No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
individual primarily for a personal, family, or household purpose.”
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

No. Go to line 7.

O Yes List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
not include paymenis to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

O Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?
0 No. Go to line 7.
O Yes List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not

include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
attorney for this bankruptcy case.

Total amount
paid

Amount you Was this payment for ...

still owe

Creditor's Name and Address Dates of payment

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7, Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and

alimony.

@ No

Ol Yes. List all payments to an insider.

Insider's Name and Address Dates of payment Total amount Amount you Reason for this payment
paid still owe

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
insider?
Include payments on debts guaranteed or cosigned by an insider.

H No

O Yes. List all payments to an insider

Insider's Name and Address Dates of payment Total amount Amount you Reason for this payment
paid still owe Include creditor's name

IGERZEEE Identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
modifications, and contract disputes.

O No

@ Yes. Fill in the details.

Case title Nature of the case Court or agency Status of the case
Case number

JONG UK BYUN, ET AL. VS Fraud Superior Court of California H@ Pending
PACKO INVESTMENTS, INC., A County of Los Angeles O on appeal
CALIFORNIA CORPORATION, ET 111 N. Hill St. O Concluded
AL. Los Angeles, CA 90012

23STCV07931

Creditors Adjustment Bureau, Inc. Avoidable Superior Court of Califonria M Pending
vs. Jong Uk Byun, et al Transfer County of Los Angeles O On appeal
23NWCV01164 Long Beach Courthouse O Concluded

415 W. Ocean Blvd.
Long Beach, CA 90802

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.

Hi No. Go to line 11.
O ‘Yes. Fill in the information below.
Creditor Name and Address Describe the Property Date Value of the

property
Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

H No
1 Yes. Fill in the details.
Creditor Name and Address Describe the action the creditor took Date action was Amount

taken

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12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
court-appointed receiver, a custodian, or another official?

HM No
O Yes

GENESEE List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

M No

O Yes. Fill in the details for each gift.

Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts

Person to Whom You Gave the Gift and
Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
M@ No
Ol Yes. Fill in the details for each gift or contribution.

Gifts or contributions to charities that total Describe what you contributed Dates you Value
more than $600 contributed

Charity’s Name

Address (Number, Street, City, State and ZIP Code)

List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
or gambling?

H No
Ol Yes. Fillin the details.
Describe the property you lost and Describe any insurance coverage for the loss Date of your Value of property

how the loss occurred loss lost

Include the amount that insurance has paid. List pending
insurance claims on line 33 of Schedule A/B: Property.

List Certain Payments or Transfers
16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you

consulted about seeking bankruptcy or preparing a bankruptcy petition?
Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

O No

@ Yes. Fill in the details.

Person Who Was Paid Description and value of any property Date payment Amount of
Address transferred or transfer was payment
Email or website address made

Person Who Made the Payment, if Not You

The Orantes Law Firm $33,138 For Attorney's Fees & Costs Various $33,138.00
3435 Wilshire Blvd. (of which $5,000 were paid with Central

Suite 2920 Metal, Inc check)

Los Angeles, CA 90010
gobklaw.com

Access Counseling, Inc. Pre-Bankruptcy Counseling Course 05/03/2023 $40.00
633 W 5th Street Suite 26001
Los Angeles, CA 90071

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17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

HM No

O Yes. Fill in the details.

Person Who Was Paid Description and value of any property Date payment Amount of
Address transferred or transfer was payment

made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
include gifts and transfers that you have already listed on this statement.

O No

EH Yes. Fill in the detaits.

Person Who Received Transfer Description and value of Describe any property or Date transfer was
Address property transferred payments received or debts made

paid in exchange
Person's relationship to you

U-Haul International 8201 Santa Fe Ave., 35,150,000.00 12/31/2021
Huntington Park CA 90255

None

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
beneficiary? (These are often called asset-protection devices.)

i No
O Yes. Fill in the details.
Name of trust Description and value of the property transferred Date Transfer was

made
List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
sold, moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
houses, pension funds, cooperatives, associations, and other financial institutions.

H No

O Yes. Fill in the details.

Name of Financial Institution and Last 4 digits of Type of account or Date account was Last balance
Address (Number, Street, City, State and ZIP account number instrument closed, sold, before closing or
Code) moved, or transfer

transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
cash, or other valuables?

M@ No

O Yes. Fill in the details.

Name of Financial Institution Who else had access to it? Describe the contents Do you still
Address (Number, Street, City, State and ZIP Code) Address (Number, Street, City, have it?

State and ZIP Code)

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

H No

Ol Yes. Fill in the details.

Name of Storage Facility Who else has or had access Describe the contents Do you still
Address (Number, Street, City, State and ZIP Code) to it? have it?

Address (Number, Street, Clty,
State and ZIP Code)

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[EEE Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
for someone.

HM No

1 Yes. Fillin the details.

Owner's Name Where is the property? Describe the property Value
Address (Number, Street, City, State and ZIP Code) (Number, Street, City, State and ZIP

Code)
GERSERY Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

Environmental law means any federal, state, or focal statute or regulation concerning pollution, contamination, releases of hazardous or
toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
regulations controlling the cleanup of these substances, wastes, or material.

Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
to own, operate, or utilize it, including disposal sites.

@ Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

O No
@ yes. Fill in the details.
Name of site Governmental unit Environmental law, if you Date of notice
Address (Number, Street, City, State and ZIP Code) Address (Number, Street, City, State and know it
ZIP Code}
Central Metal, Inc. U.S. Environmental Comprehensive May 29, 2020
2201 S. Alameda St. Protection Environmental Repsonse,
Los Angeles, CA 90058 Region IX Compensation & Liability
75 Hawthorne St. Act (CERCLA), 42 U.S.C.
San Francisco, CA 94105 9601 ey seq.

Property at issue was sold
on 12/31/2021

25, Have you notified any governmental unit of any release of hazardous material?

M No

Ol Yes. Fill in the details.

Name of site Governmental unit Environmental law, if you Date of notice
Address (Number, Street, Clty, State and ZIP Code) Address (Number, Street, City, State and know it

ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

HM No

1 Yes. Fill in the details.

Case Title Court or agency Nature of the case Status of the
Case Number Name case

Address (Number, Street, City,
State and ZIP Code)

IGEIEEES Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

DA sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

OA member of a limited liability company (LLC) or limited liability partnership (LLP)

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D An officer, director, or managing executive of a corporation
DO An owner of at least 5% of the voting or equity securities of a corporation
[C1 No. None of the above applies. Go to Part 12.

M@ Yes. Check all that apply above and fill in the details below for each business.

Business Name Describe the nature of the business Employer Identification number
Address Do not include Social Security number or ITIN.
(Number, Street, City, State and ZIP Code) Name of accountant or bookkeeper
Dates business existed
Central Metal, Inc. Metal Recycling EIN: XX-XXXXXXX
2201 S. Alameda St.
Los Angeles, CA 90058 From-To 4993 to Present

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

M No
O1 Yes. Fill in the details below.

Name Date Issued
Address
(Number, Street, City, State and ZIP Code)

GENREAN Sign Below _
| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the answers
are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud in connection

with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1549, and 357-4.-—

<2. & t/ cS
oe =<
Ge sana of Debtor 2

Date May 18/2023 Date

Is/ Jong Uk Byun
Jong Uk Byun
Signature of Deb me

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
MNo

0 Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

li No

O Yes. Name of Person . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 7
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)

Chapter 7: Liquidation

This notice is for you if:
$245 filing fee
You are an individual filing for bankruptcy,

and $78 administrative fee
Your debts are primarily consumer debts. + $15 trustee surcharge
Consumer debts are defined in 17 U.S.C.

§ 101(8) as “incurred by an individual $338 total fee

primarily for a personal, family, or

household purpose.” Chapter 7 is for individuals who have financial

difficulty preventing them from paying their debts
and who are willing to allow their non-exempt
property to be used to pay their creditors. The
primary purpose of filing under chapter 7 is to have
your debts discharged. The bankruptcy discharge
relieves you after bankruptcy from having to pay
many of your pre-bankruptcy debts. Exceptions exist
for particular debts, and liens on property may still
be enforced after discharge. For example, a creditor
may have the right to foreclose a home mortgage or
repossess an automobile.

The types of bankruptcy that are available to
individuals

Individuals who meet the qualifications may file under
one of four different chapters of Bankruptcy Code:

Chapter 7 - Liquidation

Chapter 11 - Reorganization

However, if the court finds that you have committed
certain kinds of improper conduct described in the
Bankruptcy Code, the court may deny your
discharge.

Chapter 12 - Voluntary repayment plan
for family farmers or
fishermen

Chapter 13 - Voluntary repayment plan
for individuals with regular
income

You should know that even if you file chapter 7 and
you receive a discharge, some debts are not
discharged under the law. Therefore, you may still
be responsible to pay:

You should have an attorney review your
decision to file for bankruptcy and the choice of
chapter.

most taxes;
most student loans;

domestic support and property settlement
obligations;

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010) page 1
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most fines, penalties, forfeitures, and criminal
restitution obligations; and

certain debts that are not listed in your bankruptcy
papers.

You may also be required to pay debts arising from:
fraud or theft;

fraud or defalcation while acting in breach of
fiduciary capacity;

intentional injuries that you inflicted; and

death or personal injury caused by operating a
motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs.

lf your debts are primarily consumer debts, the court
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount.
You must file Chapter 7 Statement of Your Current
Monthly Income (Official Form 122A—1) if you are an
individual filing for bankruptcy under chapter 7. This
form will determine your current monthly income and
compare whether your income is more than the median
income that applies in your state.

If your income is not above the median for your state,
you will not have to complete the other chapter 7 form,
the Chapter 7 Means Test Calculation (Official Form
122A-2).

If your income is above the median for your state, you
must file a second form —the Chapter 7 Means Test
Calculation (Official Form 122A—2). The calculations on
the form— sometimes called the Means Test—deduct
from your income living expenses and payments on
certain debts to determine any amount available to pay
unsecured creditors. If

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)

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your income is more than the median income for your
state of residence and family size, depending on the
results of the Means Test, the U.S. trustee, bankruptcy
administrator, or creditors can file a motion to dismiss
your case under § 707(b) of the Bankruptcy Code. If a
motion is filed, the court will decide if your case should
be dismissed. To avoid dismissal, you may choose to
proceed under another chapter of the Bankruptcy
Code.

If you are an individual filing for chapter 7 bankruptcy,
the trustee may sell your property to pay your debts,
subject to your right to exempt the property or a portion
of the proceeds from the sale of the property. The
property, and the proceeds from property that your
bankruptcy trustee sells or liquidates that you are
entitled to, is called exempt property. Exemptions may
enable you to keep your home, a car, clothing, and
household items or to receive some of the proceeds if
the property is sold.

Exemptions are not automatic. To exempt property,
you must list it on Schedule C: The Property You Claim
as Exempt (Official Form 106C). If you do not list the
property, the trustee may sell it and pay all of the
proceeds to your creditors.

Chapter 11: Reorganization

$1,167 filing fee

+ $571 administrative fee
$1,738 total fee

Chapter 11 is often used for reorganizing a business,
but is also available to individuals. The provisions of
chapter 11 are too complicated to summarize briefly.

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Because bankruptcy can have serious long-term financial and legal consequences, including loss of
your property, you should hire an attorney and carefully consider all of your options before you file.
Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
properly and protect you, your family, your home, and your possessions.

Although the law allows you to represent yourself in bankruptcy court, you should understand that
many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
or inaction may harm you. If you file without an attorney, you are still responsible for knowing and

following all of the legal requirements.

You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the

necessary documents.

Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
bankruptcy case. Making a false statement, concealing property, or obtaining money or property by

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fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to |
20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Chapter 12: Repayment plan for family
farmers or fishermen

$200 filing fee
+ $78 administrative fee
$278 total fee

Similar to chapter 13, chapter 12 permits family farmers
and fishermen to repay their debts over a period of time
using future earnings and to discharge some debts that
are not paid.

Chapter 13: Repayment plan for
individuals with regular
income

$235 filing fee
+ $78 administrative fee
$313 total fee

Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in
installments over a period of time and to discharge
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain
dollar amounts set forth in 11 U.S.C. § 109.

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)

Under chapter 13, you must file with the court a plan
to repay your creditors all or part of the money that
you owe them, usually using your future earnings. If
the court approves your plan, the court will allow you
to repay your debts, as adjusted by the plan, within 3
years or 5 years, depending on your income and other
factors.

After you make all the payments under your plan,
many of your debts are discharged. The debts that are
not discharged and that you may still be responsible to
pay include:

domestic support obligations,

most student loans,

certain taxes,

debts for fraud or theft,

debts for fraud or defalcation while acting in a
fiduciary capacity,

most criminal fines and restitution obligations,

certain debts that are not listed in your
bankruptcy papers,

certain debts for acts that caused death or
personal injury, and

certain long-term secured debts.

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Warning: File Your Forms on Time

|

| Section 521(a)(1) of the Bankruptcy Code requires that
you promptly file detailed information about your
creditors, assets, liabilities, income, expenses and
general financial condition. The court may dismiss your
bankruptcy case if you do not file this information within
jthe deadlines set by the Bankruptcy Code, the
|Bankruptcy Rules, and the local rules of the court.

‘For more information about the documents and
their deadlines, go to:
| http://www.uscourts.gov/forms/bankruptey-forms

Bankruptcy crimes have serious consequences

If you Knowingly and fraudulently conceal assets
or make a false oath or statement under penalty
of perjury—either orally or in writing—in
connection with a bankruptcy case, you may be
fined, imprisoned, or both.

All information you supply in connection with a
bankruptcy case is subject to examination by the
Attorney General acting through the Office of the
U.S. Trustee, the Office of the U.S. Attorney, and
other offices and employees of the U.S.
Department of Justice.

Make sure the court has your mailing address

The bankruptcy court sends notices to the mailing
address you list on Voluntary Petition for Individuals
Filing for Bankruptcy (Official Form 101). To ensure
that you receive information about your case,
Bankruptcy Rule 4002 requires that you notify the court
of any changes in your address.

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)

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A married couple may file a bankruptcy case
together—called a joint case. If you file a joint case and
each spouse lists the same mailing address on the
bankruptcy petition, the bankruptcy court generally will
mail you and your spouse one copy of each notice,
unless you file a statement with the court asking that
each spouse receive separate copies.

Understand which services you could receive from
credit counseling agencies

The law generally requires that you receive a credit
counseling briefing from an approved credit counseling
agency. 11 U.S.C. § 109(h). If you are filing a joint
case, both spouses must receive the briefing. With
limited exceptions, you must receive it within the 180
days before you file your bankruptcy petition. This
briefing is usually conducted by telephone or on the
Internet.

In addition, after filing a bankruptcy case, you generally
must complete a financial management instructional
course before you can receive a discharge. If you are
filing a joint case, both spouses must complete the
course.

You can obtain the list of agencies approved to provide
both the briefing and the instructional course from:
http://www. uscourts.gov/services-forms/bankruptcy/cre
dit-counseling-and-debtor-education-courses.

In Alabama and North Carolina, go to:
http://www.uscourts.gov/services-forms/bankruptcy/cre
dit-counseling-and-debtor-education-courses.

If you do not have access to a computer, the clerk of
the bankruptcy court may be able to help you obtain
the list.

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B2030 (Form 2030) (12/15)
United States Bankruptcy Court
Central District of California

Inre Jong Uk Byun Case No. 2:23-bk-12747-VZ
Debtor(s) Chapter 11

DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)

1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

For legal services, I have agreed to accept $ Undetermined
Prior to the filing of this statement I have received $ 33,138.00
Balance 00Due $ Undetermined

2. The source of the compensation paid to me was:

l¥} Debtor y¥| Other (specify): $5,000 for Debtor with Central Metal, Inc., check.

3, | The source of compensation to be paid to me is:
lv] Debtor _| Other (specify):

4. ff; Ihave not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

_} Ihave agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;

Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

[Other provisions as needed]

ao rp

6. By agreement with the debtor(s), the above-disclosed fee does not include the following service:
Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or

any other adversary proceeding.

CERTIFICATION

I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

May 18, 2023 isi Giovanni Orantes
Date Giovanni Orantes 190060
Signature of Attorney

The Orantes Law Firm, A.P.C

3435 Wilshire Blvd., Suite 2920

Los Angeles, CA 90010

(888) 619-8222 Fax: (877) 789-5776
_go@gobklaw.com

Name of law firm

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: Debtor 1 Jong Uk Byun

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the: Central District of California

Case number 2:23-bk-12747-VZ 0 Check if this is an amended filing

: (if known)

Official Form 122B

Chapter 11 Statement of Your Current Monthly Income 12/24

You must file this form if you are an individual and are filing for bankruptcy under Chapter 11 (other than Subchapter V). If more space is
needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional
pages, write your name and case number (if known).

Calculate Your Current Monthly Income

1. What is your marital and filing status? Check one only.

M@ Not married. Fill out Column A, lines 2-11.

0) Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

0 Married and your spouse is NOT filing with you. Fill out Column A, lines 2-11.

Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy
case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount
of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any
income amount more than once. For example, if both spouses own the same rental property, put the income from that property in one column only. If
you have nothing to report for any line, write $0 in the space.

Column A Column B
Debtor 1 Debtor 2
2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all 0.00 §

payroll deductions). _
3. Alimony and maintenance payments. Do not include payments from a spouse if $ 0.00

Column B is filled in. $
4. All amounts from any source which are regularly paid for household expenses

of you or your dependents, including child support. Include regular contributions

from an unmarried partner, members of your household, your dependents, parents,

and roommates. Include regular contributions from a spouse only if Column B is not 0.00

filled in. Do not include payments you listed on line 3. $ . $
5. Net income from operating a

business, profession, or farm Debtor 1 Debtor 2

Gross receipts (before all deductions) $ 0.00

Ordinary and necessary operating expenses $ - 0.00

Net monthly income from a business, profession, or farm $ 0.00 Copy here -> $ 0.00 $
6. Net income from rental and

other real property Debtor 1 Debtor 2

Gross receipts (before all deductions) $ 76,870.00

Ordinary and necessary operating expenses “$ 0.00

Net monthly income from rental or other real Copy

a $ 76,870.00 hore ->$ 76,870.00 ¢

property

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Deblor1 Jong Uk Byun Case number (ifknown) 2:23-bk-12747-VZ
Column A Calumn B
Debtor 1 Debtor 2
$ 0.00 4

7. Interest, dividends, and royalties
8. Unemployment compensation $ 0.00 §

Do not enter the amount if you contend that the amount received was a benefit under
the Social Security Act. Instead, list it here:

For you $ 0.00
For your spouse $

9. Pension or retirement income. Do not include any amount received that was a
benefit under the Social Security Act. Also, except as stated in the next sentence, do
not include any compensation, pension, pay, annuity, or allowance paid by the
United States Government in connection with a disability, combat-related injury or
disability, or death of a member of the uniformed services. If you received any retired
pay paid under chapter 61 of title 10, then include that pay only to the extent that it
does not exceed the amount of retired pay to which you would otherwise be entitled
if retired under any provision of title 10 other than chapter 61 of that title. $ 0.00 $

10. Income from all other sources not listed above. Specify the source and amount.
Do not include any benefits received under the Social Security Act; payments
received as a victim of a war crime, a crime against humanity, or international or
domestic terrorism; or compensation, pension, pay, annuity, or allowance paid by the
United States Government in connection with a disability, combat-related injury or
disability, or death of a member of the uniformed services. If necessary, list other
sources on a separate page and put the total below.

$ $
$ 0.00 $
Total amounts from separate pages, if any. + § 0.00 $
11. Calculate your total current monthly income.
Add lines 2 through 10 for each column.
$ 76,870.00 + =§ 76,870.00

Then add the total for Column A to the total for Column B.

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Debior1 Jong Uk Byun Case number (known) 2:23-bk-12747-VZ

Sign Below

By signing here, under penalty i pegfary | de¢tare that the information on this statement and in any attachments is true and correct.
X Is/Jong Uk Byun //o AA ppe te.
Jong Uk Byun

Signature of Debtoy' 4

Date May 18, 2023
MM/DD /YYYY

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Debtor 1 _Jong Uk Byun © Case number (fknown)  2!23-bk-12747-VZ

Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 11/01/2022 to 04/30/2023.

Line 6 - Rent and other real property income
Source of Income: Rental Income

Constant income of _76,870.00 per month.
Constant expense of _0.00 per month.

Net Income _76,870.00 per month.

Non-CMI - Social Security Act Income
Source of Income: SSI
Constant income of $1,556.00 per month.

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